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 IN THE HIGH COURT OF JUSTICE                                         Claim no: 2009 Folio 1099
 QUEEN'S BENCH DIVISION
 COMMERCIAL COURT
 Before Mr Justice Teare
 And Before Mr Justice Field, Mr Justice Flaux, Mr Justice Popplewell, Mr Justice Hamblen, Mr
 Justice Burton and Mr Justice Males
 Dated 6 August 2010 (as amended on 10th November 2010, 26th January 2011, 8th April 2011, 27
 May 2011, 9 June 2011, 8 March 2012, 24 April 2012, 22 May 2012, 9 August 2012, 23 August
 2012, 25 January 2013, 25 April 2013, 17 May 2013, 24 June 2013, 5 July 2013, 31 July 2013, 23
 January 2014,14 March 2014, 24 March 2014, 23 June 2014, 10 October 2014, 23 January 2015, 5
 May 2015, 17 July 2015, 4 August 2015 and 18 September 2015)


 IN PRIVATE


 BETWEEN:
                                        JSC BTA BANK
                                                                               Claimant/Applicant


                                               and


                                 (1) MUKHTAR ABLYAZOV
                                                                    First Defendant/Respondent
                                (2) ROMAN SOLODCHENKO
                              (3) ZHAKSYLYK ZHARIMBETOV
                               (4) DREY ASSOCIATES LIMITED
                           (5) ANTHONY EDWARD THOMAS STROUD
                                (6) JOHN DOMINIC WILSON
                                 (7) SARAH JULIET WILSON
                           (8) INTERFUNDING FACILITIES LIMITED
                                  (9) ALEXANDER UDOVENKO
                                     (10) 000 MARION PLUS
                                    (11) 000 TETROCONSULT
                                (12) 000 KHUDRED-SERVICE 5
                                         (13) 000 TRAIKER
                                        (14) 000 STEK-1000
                                      (15) 000 AMK-INVEST
                                (16) TURANALEM CAPITAL LLC
                                 (17) ZRL BETEILIGUNGS LLC
                                                                                      Defendants



                                            ORDER



 If you Mukhtar Ablyazov disobey this order and/or interfere with the Receivers exercising their
  powers or performing their duties under this order you may be held to be in contempt of court
                    and may be imprisoned, fined or have your assets seized.




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   Any other person who knows of this order and does anything which helps or permits Mukhtar
 Ablyazov or any other person to breach its terms may also be held to be in contempt of court and
                         may be imprisoned, fined or have their assets seized.


 Upon the Court reading the written evidence set out in Schedule 1 to this Order


 And upon the Court accepting the undertakings set out in Schedule 2 to this Order


 And upon the Court on 8 April 2011 hearing the without notice application of the Claimant for an
 extension of this order ("the April Extension Application")


 And upon the Court on 27 May 2011 hearing the without notice application of the Claimant for an
 extension of this order ("the May Extension Application")


 And upon the Court on 8 March 2012 hearing the without notice application of the Claimant seeking
 variations to this order ("the March 2012 Application")


 And upon the Court on 24 April 2012 hearing the without notice application of the Claimant seeking
 variations to this order ("the April 2012 Application")


 And upon the Court on 25 January 2013 hearing the without notice application of the Claimant seeking
 variations to this order ("the January 2013 Application")


 And upon the Court on 25 April 2013 hearing the application of the Claimant seeking variations to this
 order ("the April 2013 Application")


 And upon the Court on 17 May 2013 hearing the without notice application of the Claimant seeking
 further variations to this order (the "May 2013 Application")


 And upon the Court reading the application of the Receivers dated 20 June 2013 seeking a further
 variation to this order (the "June 2013 Application")


 And upon the Court on 5 July 2013 hearing the application of the Claimant seeking variations to this
 order in respect of paragraphs 27A to 27E below


 And upon the Court on 31 July 2013 hearing the without notice application of the Claimant seeking
 variations to this order (the "July 2013 Application")


 And upon the Court on 23 January 2014 hearing the without notice application of the Claimant seeking
 variations to this order (the "January 2014 Application")


 And upon the Court (Mr Justice Field) on 14 March 2014 hearing the without notice application of the
 Claimant seeking variations to this order (the "March 2014 Application")


 And upon the Court (Mr Justice Flaux) on 24 March 2014 hearing the without notice application of the
 Claimant seeking variations to this order (the "24 March 2014 Application")




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 And upon the Court (Mr Justice Flaux) on 23 June 2014 determining on the papers the application of
 the Claimant seeking variations to this order (the "19 June 2014 Application")


 And upon the Court (Mr Justice Popplewell) on 10 October 2014 hearing the application of the
 Claimant seeking variations to this order made by application notice dated 25 June 2014 (the "25 June
 2014 Application")


 And upon the Court (Mr Justice Hamblen) on 23 January 2015 determining on the papers the
 application of the Claimant seeking variations to this order (the "January 2015 Application")


 And upon the Court (Mr Justice Burton) on 5 May 2015 determining on the papers the application of
 the Claimant seeking variations to this order (the "May 2015 Application")


 And upon the Court (Mr Justice Males) on 17 July 2015 hearing the application of the Claimant
 seeking variations to this order made by application notice dated 13 July 2015 (the "July 2015
 Application")


 And upon the agreement of the relevant parties on 3 August 2015 (the "August 2015 Application")


 And upon the Court (Mr Justice Burton) on 18 September 2015 determining on the papers the
 application of the Claimant seeking variations to this order (the "September 2015 Application")


 And upon hearing Counsel for the Claimant


 And upon the following terms having the following meanings for the purposes of this Order:-


 "The Freezing Order"             shall mean the Order of Mr Justice Teare made herein on 23
                                  November 2012 (as amended from time to time thereafter)


 "Direct Assets"                  shall mean any assets held by a company listed in Schedule 3A, 3B,
                                  3C, 3D, 3E, 3F, 3G , 3H or 31 in its own name


 "Indirect Assets"                shall mean any assets either (i) held for or on behalf of a company
                                  listed in either Schedule 3A, 3B, 3C, 3D, 3E, 3F or 3G or (ii) held by
                                  or for a subsidiary (as defined by s 1159 of the Companies Act 2006)
                                  of a company listed in Schedule 3A, 3B, 3C, 3D, 3E, 3F, 3G, 3H or
                                  31


 "The Disclosed Assets"           shall mean all the legal and beneficial interests in the assets set out in
                                  Schedule 3 to this Order being assets of the First Defendant
                                  disclosed by him to the Claimant in the course of this claim to the
                                  date hereof pursuant to the disclosure provisions of the Freezing
                                  Order including for the avoidance of doubt, the legal and beneficial
                                  interests, direct or indirect, in each of the companies in the structures
                                  holding such assets identified in Schedule 3


 "The Undisclosed Assets"         shall mean all the legal and beneficial interests in the shares in, and
                                  (from the moment of service of this order on Mr Ablyazov's




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                                  solicitors) the Direct and Indirect Assets of, the companies listed in
                                  Schedule 3A hereto

 "The Further Undisclosed Assets"           shall mean all the legal and beneficial interests in the
                                  shares in, and (from the moment of service of this order on Mr
                                  Ablyazov's solicitors) the Direct and Indirect Assets of, the
                                  companies listed in Schedule 3B hereto

 "The Additional Undisclosed Assets"        shall mean all the legal and beneficial interests in the
                                  shares in, and (from the moment of service of this order on Mr
                                  Ablyazov's solicitors) the Direct and Indirect Assets of, the
                                  companies listed in Schedule 3C hereto.

 "The Extra Undisclosed Assets"             shall mean all the legal and beneficial interests in the
                                  shares in, and the Direct and Indirect Assets of, the companies listed
                                  in Schedule 3D hereto.

 "The January 2013 Undisclosed Assets"                shall mean all the legal and beneficial interests in
                                  the shares in, and the Direct and Indirect assets of, the companies
                                  listed in Schedule 3E hereto.

 "The July 2013 Undisclosed Assets"          shall mean all the legal and beneficial interests in the
                                             shares in, and the Direct and Indirect assets of, the
                                             companies listed in Schedule 3F hereto.

 "The January 2014 Undisclosed Assets"       shall mean all the legal and beneficial interests in the
                                             shares in, and the Direct and Indirect assets of, the
                                             companies listed in Schedule 3G hereto.


 "The March 2014 Undisclosed Assets"         shall mean all the legal and beneficial interests in the
                                             shares in, and the Direct and Indirect assets of, the
                                             companies listed in Schedule 3H hereto


 "The 24 March 2014 Undisclosed Assets" shall mean all the legal and beneficial interests in the
                                             shares in, and the Direct and Indirect assets of, the
                                             companies listed in Schedule 31 hereto



 "The UK Properties"              shall mean those properties listed at Schedule G (A1), (A2), (A3)
                                  and (A4) of the Freezing Order

 "Reserved Assets"                shall mean those properties listed at Schedule G (A5), (A6), (A7)
                                  and (A8) of the Freezing Order

"Valenora Proceedings"            shall mean proceedings instituted in the Larnaca District Court,
                                  Cyprus by Valenora Co Limited against Usarel Investments Limited
                                  under Action Number 672/2012




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 IT IS ORDERED THAT:

                                APPOINTMENT OF RECEIVERS



    1. Save for the Reserved Assets, David Standish and John Milsom, partners of KPMG LLP, of
       15 Canada Square, London E14 5GL ("the Receivers"), be appointed joint receivers to (a)
       receive all the Disclosed Assets, Undisclosed Assets, Further Undisclosed Assets and all the
       Additional Undisclosed Assets, the UK Properties, the Extra Undisclosed Assets, the January
       2013 Undisclosed Assets, the July 2013 Undisclosed Assets, the January 2014 Undisclosed
       Assets, the March 2014 Undisclosed and the 24 March 2014 Undisclosed Assets and (b)
       perform the other functions provided for by this Order.

    IA. The Receivers shall also be appointed as managers of (a) the companies listed for the purposes
        of this paragraph in Schedule 3 to this order, (b) Chrysopa Holding B.V. (listed in row 93 of
        Schedule 3B hereto), International Petroleum Services Group Limited (listed in row 20 of
        Schedule 3D hereto) and Valenora Co Limited (listed in row 23 of Schedule 3D hereto), (c)
        Mount Properties Limited (listed in row 248 of Schedule 3B hereto), Lafe Technology
        Limited (listed in row 210 of Schedule 3B hereto), Rocklane Properties Limited (listed in row
        148 of Schedule 3A hereto) and Bensbourogh Trading Inc (listed in row 49 of Schedule 3B
        hereto) (d) Dayen Environmental Limited (listed in row 201 of Schedule 3A hereto), Nupto
        Limited (listed in row 258 of Schedule 3B hereto), Jollafield Holdings Limited (listed in row
        198 of Schedule 3B hereto), Eurasia Logistics Limited (listed in row 6 of Schedule 3C hereto),
        Seaworld Processing Limited (listed in row 17 of Schedule 3C hereto), Stepan Investments
        Limited (listed in row 282 of Schedule 3F hereto), Timmins Investing Limited (listed in row
        173 of Schedule 3F hereto), and (e) Fine Tuner Limited (listed in row 11 of Schedule 3G
        hereto) and Dual Channels Limited (listed in row 9 of Schedule 3G hereto). The said
        appointment shall, upon recognition of this order in the jurisdiction of incorporation of the
        said companies, suspend the powers of the directors of those companies (such powers to be
        assumed by the Receivers or persons acting on their instructions) save in so far as (i) any
        director thereof is authorised by the Receivers in writing to exercise any of those powers
        and/or (ii) such powers relate to the conduct of the arbitration proceedings and litigation
        referred to in Schedule 4(2)(ii) and (iii) hereto.

    2. The Receivers shall further be appointed receivers to receive

            a.   the US$5,750,000 (and the traceable proceeds of it or any part of it) paid to Julia
                 Seliverstova on 27 June 2008 by Devesta Limited.

            b. The US$41,100,000 (and the traceable proceeds of it or any part of it) paid to FM
               Company on 27 June 2008 by Devesta Limited.

            c.   The US$2,000,000 (and the traceable proceeds of it or any part of it) being the
                 balance of a total sum of US$50,000,000 received by Devesta Limited from Drey
                 Associates Limited on 25 June 2008 which was not paid to the Claimant.

            d. The US$1,939, 500 (and the traceable proceeds of it or any part of it) paid by
               Amador Investment Limited to Toscana Group Limited on 3 July 2008.




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             e.   The US$1,060,500 (and the traceable proceeds of it or any part of it) paid by Amador
                  Investment Limited to Evanda Trading S.A. on 2 July 2008.


             f.   The US$815,000 (and the traceable proceeds of it or any part of it) paid by Aha
                  Management Inc to Industrial Complex AMK Invest on 24 October 2008.


             g.   The US$750,000 (and the traceable proceeds of it or any part of it) paid by City
                  Ventures Limited to Atlant LLP on 27 June 2008.


             h.   The US$720,000 (and the traceable proceeds of it or any part of it) paid by
                  Tradestock Inc to Denmar Assets Management Inc on 22 October 2008.


             i.   The US$500,000 (and the traceable proceeds of it or any part of it) being the balance
                  of a total sum of US$4,000,000 received by Klostrade Financial Group from Amador
                  Investment Limited on 27 June 2008 which was not paid to the Claimant.


             j.   The US$400,000 (and the traceable proceeds of it or any part of it) received by
                  Caprio Limited from Swain River Limited on 27 June 2008.


             k.   The US$297,642 (and the traceable proceeds of it or any part of it) being the balance
                  of a total sum of US$900,000 received by Ditron Solutions Limited from Darfield
                  Limited on 1 July 2008 which was not paid to the Claimant.


         Provided that this clause shall not apply to any property, assets or interests which have been
         acquired by a bona fide third party purchaser for value.


    3.   Save as provided for below, the Disclosed Assets and the assets referred to in paragraph 2
         above (hereafter together called "the Property") and the Undisclosed Assets, Further
         Undisclosed Assets, Additional Undisclosed Assets, the UK Properties, the Extra Undisclosed
         Assets, the January 2013 Undisclosed Assets, the July 2013 Undisclosed Assets, the January
         2014 Undisclosed Assets, the March 2014 Undisclosed and the 24 March 2014 Undisclosed
         Assets shall be held by the Receivers to the order of the Court.


    4.   Subject to paragraph 7, below, the appointment of the Receivers shall continue until further
         order of the Court.


    5.   The Receivers shall have power to take all such steps as may seem expedient to recover and
         preserve the Property and the Undisclosed, Further Undisclosed, Additional Undisclosed
         Assets, the UK Properties, the Extra Undisclosed Assets, the January 2013 Undisclosed
         Assets, the July 2013 Undisclosed Assets, the January 2014 Undisclosed Assets, the March
         2014 Undisclosed and the 24 March 2014 Undisclosed Assets and in particular shall have the
         powers set out in Schedule 4 hereto. The Receivers shall also have, in relation to the assets
         referred to in paragraphs SAA, 5AD and 5AE-5AEC, the additional powers referred to in
         those paragraphs together with the powers set out in Schedule 4 hereto. The powers vested in
         the Receivers may be exercised jointly or individually.




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 5AA. The Receivers shall have the power to take all such steps as may seem expedient to realise,
        sell, transfer, assign, lease or encumber:

         (a) the Direct or Indirect Assets of Mount Properties Limited (and in particular the property
             known as Carlton House, the Bishop's Avenue, London N2 0BA);
         (b) the Direct or Indirect Assets of Lafe Technology Limited (and in particular the properties
             comprising the Oaklands Park estate, Englefield Green);
         (c) the Direct or Indirect Assets of Bensbourogh Trading Inc (and in particular the property
             known as Apartment 17, Alberts Court, 2 Palgrave Gardens, London NW1 6EL);
         (d) the shares in and Direct Assets of Rocklane Properties Limited (and in particular the
             property known as Flat 79, Elizabeth Court, 1 Palgrave Gardens, London NVV1 6EJ)

         for the purposes of raising funds partially to discharge the judgment debts owed by Mr
         Ablyazov to the Bank (including, without limitation, pursuant to paragraph 2 of the Order of
         Mr Justice Teare dated 23 November 2012 in relation to the DCM proceedings, paragraph 2 of
         the Order of Mr Justice Teare dated 23 November 2012 in relation to the Drey proceedings,
         paragraph 1 of the Order of Mr Justice Teare dated 19 April 2013 in relation to the Granton
         proceedings and paragraph 3 of the Order of Mr Justice Henderson dated 26 November 2013
         in relation to the AAA proceedings, the "Judgment Debts"). Provided that the said powers
         shall not be exercised by the Receivers until the interim charging orders granted by Teare J
         over Carlton House, Oaklands Park and Alberts Court on 16 April 2013 are made final. For
         the avoidance of doubt, the powers in relation to the shares in, and Direct Assets of, Rocklane
         Properties Limited may be exercised immediately.

 5AB. The Receivers shall, within a reasonable period of the receipt of funds pursuant to the taking
        of any of the steps provided by paragraph 5AA, above, pay those funds after deducting the
        costs and expenses of the steps taken to the Bank's solicitors or (as appropriate) the Bank or
        such other person as may be nominated by the Bank.

 5AC. Upon the payment of any sums pursuant to paragraph 5AB, above, the Receivers shall also
       pay to the Bank (or its nominated person) any other sums held by the Receivers representing
       net rental income from the same asset to which the funds so paid relate.

 5AD. The Receivers shall as soon as reasonably practicable use their best endeavours to transfer or
        assign or procure the transfer or assignment to the Bank or its nominee of the shares in (a)
        BTA Ukraine held by the intermediate holding companies identified in Schedule 3(2) hereto
        and (b) BTA Armenia held by the companies identified in Schedule 3(4) hereto. For the
        avoidance of doubt, the Receivers shall have the power to recover the shares in BTA Armenia
        and any company identified in Schedule 3(4) hereto by challenging any purported transfer or
        assignment of the same.

 5AE.    The Receivers shall as soon as reasonably practicable use their best endeavours to (a) release
         and/or assign or procure the release and/or assignment to the Bank or its nominee of the
         chores in action held by Goldfine Import Investments LLP, Drobo Trade Investments LLP,
         Impulse Capital Investments LLP and Lakeland Investments LLP (the "Selling
         Shareholders") in connection with sale and purchase agreements relating to shares in BTA
         Ukraine entered into on 24 December 2008 and (b) discontinue or procure the discontinuance
         of proceedings instituted in the Ukrainian courts by the Selling Shareholders against the Bank




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         in relation to the said sale and purchase agreements.


 5AEA. The Receivers shall as soon as reasonably practicable use their best endeavours to transfer or
        assign or procure the transfer or assignment to the Bank or its nominee of the share in BTA
         Belarus held by TuranAlem Capital LLC (an intermediate holding company specified in
         Schedule 3(1) to the Order). For the avoidance of doubt (i) the share in BTA Belarus is an
         asset within the scope of this Order (falling within the definition of Disclosed Assets) and (ii)
         the Receivers shall have the power to recover the share in BTA Belarus and/or the shares in
         TuranAlem Capital LLC by challenging any purported transfer or assignment of the same.


 5AEB. The Receivers shall as soon as reasonably practicable use their best endeavours to release
         and/or assign or procure the release and/or assignment to the Bank or its nominee of any
         choses in action or other rights held by Interfunding Facilities Limited, TuranAlem Capital
         LLC and ZRL Beteiligungs AG arising in connection with sale and purchase agreements
         relating to shares in BTA Belarus entered into on 12 and 19 August 2008 and/or the
         invalidation of the same by Order of Mr Justice Teare dated 23 November 2012.


 5AEC. The Receivers shall as soon as reasonably practicable use their best endeavours to transfer or
         assign or procure the transfer or assignment to the Bank or its nominee of the shares in
         Handcart Investments Limited.


 5AF.    The value of the assets, interests and rights (if any) referred to in paragraphs 5AD to 5AEC
         above shall be offset against the Judgment Debts. Mr Ablyazov shall have liberty to apply for
         an Order that the Receivers shall (at his own expense) procure a valuation of the said assets,
         interests and rights.


                                  AMENDMENT APPLICATIONS


 5A.     The amendments made to this order on 17 July 2015 (the "July 2015 Amendments") were
         made at a hearing without notice to the First Defendant. The First Defendant has a right to
         apply to the court to vary or discharge such amendments and the amendments made to this
         order on 26 January 2011 ("the January 2011 Amendments"), 8 April 2011 ("the April 2011
         Amendments") and/or 27 May 2011 ("the May 2011 Amendments"), 8 March 2012 ("the
         March 2012 Amendments"), 24 April 2012 ("the April 2012 Amendments"), 25 January
         2013 ("the January 2013 Amendments"), 25 April 2013 (the "April 2013 Amendments"),
         17 May 2013 (the "May 2013 Amendments"), 31 July 2013 (the "July 2013 Amendments"),
         23 January 2014 (the "January 2014 Amendments") and 14 March 2014 (the "March 2014
         Amendments") and 24 March 2014 (the "24 March 2014 Amendments") — see paragraph
         5C, below.


 5B.     The Court will (if required) reconsider the July 2015 Amendments as soon as possible at an
         appointment to be fixed through the usual channels.


 5C.     Anyone served with or notified of this order may apply to the court at any time to vary or
         discharge the January and/or April and/or May 2011 and/or March 2012 and/or April 2012
         Amendments and/or January and/or April and/or May and/or July 2013 Amendments and/or
         January 2014 Amendments and/or March 2014 Amendments and/or 24 March 2014
         Amendments and/or July 2015 Amendments and/or the amendments made on 10 October




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           2014, 23 January 2015 and/or 5 May 2015 (in so far as those amendments affect that person),
           but they must first inform the Claimant's solicitors. If evidence is to be relied upon in support
           of the application, the substance of it must be communicated in writing to the Claimant's
           solicitors in advance.

 5D.       The Claimant is permitted, pursuant to CPR rule 3.1(2)(a), to delay service of the 24 March
           2014 Application, this order, supporting evidence and associated documentation on Mr
           Ablyazov (by service on his solicitors) until 4 pm on 31 March 2014.


 5E.       No documentation relating to the 24 March 2014 Application, including this order itself, shall
           be put on the court file until after service of this order. The Claimant's solicitors shall notify
           the Court as soon as reasonably practicable after such service has been effected.

 5F.       The costs of the April and May 2011 Extension Applications and the March and April 2012
           Applications and the January, April, May, July 2013, January 2014, March 2014 and 24
           March 2014 Applications are reserved.

               FREEZING ORDER — THE 24 MARCH 2014 UNDISCLOSED ASSETS

 5G.       The Freezing Order shall be varied (inter alia) by the inclusion of a new Schedule N, which
           includes the companies listed in Schedule 31 to this Order.




                                                 SECURITY

       6. The Receivers do within eight days of the date of this order coming into force provide security
          in the sum of £5 million by filing written evidence of the bonds provided by them to cover
          appointment as a court appointed receiver.

       7. If the Receivers have not given such security within eight days of the date of this order coming
          into force or within such further time as the Court may allow, their appointment as Receivers
          is immediately to cease.

       8. The Claimant having given the undertakings in Schedule 2 and having made the payments and
          given the notifications referred to in 8A and 8B, below, the Receivers have permission to act.



                                      FURTHER FORTIFICATION

       8A. [Deleted pursuant to Court order.]

       8B. The Claimant shall pay the sum of £7.5 million into Court in respect of the costs of the
           receivership forthwith (and shall forthwith thereafter send written notification of such payment
           to the First Defendant's solicitors and the Receivers).

       8C. The First Defendant shall have liberty to apply in respect of the sufficiency of the fortification
           of the undertakings and in respect of the sum paid in relation to costs.




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                                            DELIVERY UP

    9.   The First Defendant shall, as soon as reasonably practicable:

             a. use his best endeavours to deliver or cause to be delivered to the Receivers such of
                the Property and such of the Undisclosed, Further Undisclosed, Additional
                Undisclosed, Extra Undisclosed, January 2013 Undisclosed, the July 2013
                Undisclosed, the January 2014 Undisclosed , the March 2014 Undisclosed and the 24
                March 2014 Undisclosed Assets and the UK Properties as are in his possession,
                under his control, or in respect of which he has the power to dispose or deal;

             b. use his best endeavours to deliver or cause to be delivered to the Receivers all share
                certificates, securities, books, instruments evidencing title and other documents and
                records (whether electronic or otherwise) relating to the Property or relating to the
                Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed,
                January 2013 Undisclosed, the July 2013 Undisclosed, the January 2014
                Undisclosed, the March 2014 Undisclosed or the 24 March 2014 Undisclosed Assets
                or the UK Properties (or any part thereof) as are in his control (as defined by CPR
                rule 31.8);

             c.   use his best endeavours to irrevocably instruct all nominees, trustees, agents,
                  attorneys or other persons who hold or control the Property or the Undisclosed,
                  Further Undisclosed, Additional Undisclosed, Extra Undisclosed, January 2013
                  Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed, March 2014
                  Undisclosed or 24 March 2014 Undisclosed Assets or the UK Properties (or any part
                  thereof), whether directly or indirectly, to deliver it and the documents referred to in
                  sub-paragraph (b) above, to the Receivers. In particular, but without limitation, the
                  First Defendant shall use his best endeavours to give such instructions to:

                        i.
                       ii.   Rinat Batyrgareyev;
                      iii.
                      iv.
                       v.
                      vi.    Helmedt Seitz (also known as H. Seitz);
                     vii.    Paul Kythreotis;
                    viii.    B. Littman;
                      ix.
                       x.
                      xi.    Fiona Paraskeva;
                     xii.
                    xiii.
                     xiv.    Syrym Shalabayev;
                      xv.    Alexander Udovenko;
                     xvi.    Jason Hercules;
                    xvii.    Zhaiykbek Burkitbayev;
                   xviii.    Safuan Zhadikov;




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                     xix. Yerlan Kossayev;
                      X X. Yuliya Degtyareva;

                     xxi. Tatyana Aleinova;
                    xxii. Edward Pakhomov (also known as Vitally Pakhomov and Eduard
                            Pakhomov);
                   xxiii. Ella Ligai;
                   xxiv. Galina Batyrgareyeva; and
                    xxv. Alexander Frolov.

             d. use his best endeavours to irrevocably instruct the nominees, trustees, agents,
                attorneys or other persons who have the power to do so, to forthwith execute or cause
                to be executed share transfer forms in a form capable of being registered in the names
                of the Receivers (or their nominees or agents on their behalf) for all of the shares
                identified as the Disclosed Assets within Schedule 3 hereto (in the form of that
                Schedule prior to the amendments made to it on 8 March 2012) and for all of the
                shares identified as the Undisclosed Assets, Further Undisclosed Assets, Additional
                Undisclosed, Extra Undisclosed, January 2013 Undisclosed, July 2013 Undisclosed,
                January 2014 Undisclosed, March 2014 Undisclosed or 24 March 2014 Undisclosed
                Assets within Schedules 3A, 3B, 3C, 3D, 3E, 3F, 3G, 3H and 31 hereto and to
                provide those executed transfers to the Receivers forthwith.

             e.   use his best endeavours to irrevocably instruct the nominees, trustees, agents,
                  attorneys or other persons who have the power to do so, to confirm in writing to the
                  Receivers that they will not issue, or allow to be issued, any new shares in the entity
                  in respect of which they exercise control, or to otherwise take any step that would
                  alter the management structure or capital structure of the relevant entity unless the
                  Receivers first provide their written consent to such action being taken.

             f.   provide to the Receivers copies of all written instructions and details of all oral
                  instructions given in accordance with sub-paragraphs (c), (d) and (e) above including
                  (as appropriate) details of: the name and address of the person being instructed; the
                  date when the instruction was given; the method by which the instruction was given;
                  the nature of the asset to which the instructions referred; and the gist of any words
                  said when giving those instructions.

    10. The First Defendant (in addition to the Orders at paragraph 9(c), (d) and (e) above) shall, as
        soon as reasonably practicable, provide to the Receivers copies of all subsequent written
        communications and details of all subsequent oral communications concerning any actual or
        potential dealing with or disposal of any of the Property or any of the Undisclosed, Further
        Undisclosed, Additional Undisclosed, Extra Undisclosed, January 2013 Undisclosed, July
        2013 Undisclosed, January 2014 Undisclosed, March 2014 Undisclosed or 24 March 2014
        Undisclosed Assets or the UK Properties between himself (including by any employee or
        agent or otherwise howsoever) and each person (whether by themselves their employees or
        agents or otherwise howsoever) to whom instructions were given in accordance with sub-
        paragraph 9(c), (d) and (e) above including (as appropriate) details of: the name and address of
        the person with whom he was communicating; the date of the communication; the method of
        communication; and the gist of any words said.




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    11. If so requested in writing by the Receivers, the First Defendant shall, as soon as reasonably
        practicable, use his best endeavours to irrevocably instruct the nominees, trustees, agents or
        other persons who have the power to do so, forthwith to cause the Receivers (or their
        nominees or agents on their behalf) to be registered as the holders of the shares (or equivalent
        participation rights as may exist in the relevant jurisdiction) identified as amongst the
        Disclosed Assets in Schedule 3 to this Order (in the form of that Schedule prior to the
        amendments made to it on 8 March 2012) or the Undisclosed Assets in Schedule 3A to this
        Order or the Further Undisclosed Assets in Schedule 3B to this Order or the Additional
        Undisclosed Assets in Schedule 3C to the Order or the Extra Undisclosed Assets in Schedule
        3D to the Order or the January 2013 Undisclosed Assets in Schedule 3E to the Order or the
        July 2013 Undisclosed Assets in Schedule 3F to this Order or the January 2014 Undisclosed
        Assets in Schedule 3G to this Order or the March 2014 Undisclosed Assets in Schedule 3H to
        this Order or the 24 March 2014 Undisclosed in Schedule 31 to this Order.

                         OBLIGATIONS OF THE FIRST DEFENDANT

    12. The First Defendant shall:

            a. give to the Receivers such information and documentation relating to the Property
               and the Undisclosed, Further Undisclosed, Additional Undisclosed, Extra
               Undisclosed, January 2013 Undisclosed, July 2013 Undisclosed and January 2014
               Undisclosed Assets and the UK Properties and where the said Property or
               Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed,
               January 2013 Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed, March
               2014 Undisclosed or 24 March 2014 Undisclosed Assets consist of shares in
               companies used by the First Defendant as a part of a structure through which to hold
               his interests in a business or asset, such information and documentation relating to all
               companies and their respective businesses and assets within that structure,
            b. attend on the Receivers at all such times, and
            c. do all such things (including, without limitation, use his best endeavours to procure
               his agents, nominees, trustees or attorneys to do all such things),

        as the Receivers may reasonably require for the purposes of getting in the Property and the
        Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed, January 2013
        Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed, March 2014 Undisclosed
        and 24 March 2014 Undisclosed Assets and the UK Properties and carrying out their
        functions.

 12A.   The First Defendant shall use his best endeavours to procure that the directors of, and holders
        of powers of attorney in relation to, the companies listed in Schedules 3A, 3B, 3C, 3D, 3E, 3F,
        3G, 3H and 31 hereto and their subsidiaries shall not deal with or dispose of the shares in, or
        the Direct or Indirect Assets of, those companies save in accordance with the Freezing Order
        (as amended). Without prejudice to the generality of this obligation, the First Defendant shall,
        as soon as reasonably practicable, issue appropriate written instructions to all such directors
        and holders of powers of attorney of which he has knowledge (copies of which shall be
        provided to the Claimant's solicitors and the Receivers).

                                         THIRD PARTIES




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 12B.      The Receivers shall have power to request any information from any third party within the
           jurisdiction or who falls within paragraph 20(2) (including without limitation those persons
           specified in Schedule 5) as the Receivers may reasonably require for the purposes of getting in
           the Disclosed, Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed,
           January 2013 Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed, March 2014
           Undisclosed and 24 March 2014 Undisclosed Assets and the UK Properties and carrying out
           their functions in relation thereto.

 12C       Any person upon whom this order is served within this jurisdiction or who falls within
           paragraph 20(2) (including without limitation those persons specified in Schedule 5), shall:

                a. give to the Receivers such information and documentation relating to the Disclosed,
                   Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed,
                   January 2013 Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed,
                   March 2014 Undisclosed and 24 March 2014 Undisclosed Assets and the UK
                   Properties,
                b. attend on the Receivers at all such times, and
                c. do all such things,

           as the Receivers may reasonably require for the purposes of getting in the Disclosed,
           Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed, January 2013
           Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed, March 2014 Undisclosed and
           24 March 2014 Undisclosed Assets and the UK Properties and carrying out their functions in
           relation thereto.

                                   DISCLOSURE OF INFORMATION

       13. The First Defendant shall, within 6 working days of this order, file and serve on the Claimant
           and the Receivers a witness statement confirming whether the disclosure given by his third
           witness statement dated 16 April 2010 of the assets which ought to be disclosed pursuant to
           the disclosure provisions of the Freezing Order remains (as at the date of the further witness
           statement) accurate (and, if not, providing full details of the ways in which the said disclosure
           is inaccurate).

       14. To the extent not already provided, the Claimant's solicitors shall be at liberty to provide to
           the Receivers all information and documentation disclosed by the First Defendant or his
           solicitors pursuant to (i) the Freezing Order; (ii) the cross-examination of the First Defendant
           ordered by Mr Justice Teare on 16 October 2009; (iii) the evidence served in opposition to this
           application to appoint the Receivers; and (iv) the hearing of the application for their
           appointment.

                                                 REPORTS

       15. The Receivers do submit a report to the Court, the Claimant's solicitors and the First
           Defendant within 6 weeks after the coming into force of this Order, giving details of the nature
           and value of the money, assets and property received by them pursuant to this Order and the
           quantum of their remuneration, expenses and costs. Thereafter, the Receivers shall submit




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        reports to the Court, the Claimant's solicitors and the First Defendant at quarterly intervals
        from the date of their first report or more frequently if the Receivers believe that it is
        necessary or appropriate to do so.


    16. The Claimant's solicitors may only circulate the said reports in a manner which is consistent
        with paragraph 15 of the Order of Mr Justice Teare dated 12 November 2009 (as subsequently
        amended).


                                 RECEIVERS' COSTS AND EXPENSES

    17. The Receivers shall be entitled to reasonable remuneration and reasonable costs and expenses
        properly incurred in the performance of their duties and the exercise of their powers as
        receivers, such remuneration, costs and expenses to be taken (if not paid directly by the Bank)
        from the sum paid into Court by the Bank in accordance with paragraph 8B, above, provided
        that both the Bank and the First Defendant shall have liberty to apply to the court for a
        determination of the reasonableness of such remuneration, costs and expenses, and upon such
        application being made the Court shall determine the same. The Bank shall have liberty to
        apply to seek an order that it be reimbursed for the said remuneration, costs and expenses by
        (a) the First Defendant and/or (b) the sale of asset(s) held by the Receivers.


    18. The Receivers shall have a lien over the Property for the payment of their fees, costs and
        expenses (provided that such a lien may only be enforced with the leave of the court).


                                           THIRD PARTIES

    19. It is a contempt of court for any person notified of this Order knowingly to assist in or permit a
        breach of it. Any person doing so may be sent to prison, fined or have his assets seized.


                            PERSONS OUTSIDE ENGLAND AND WALES

    20. (1)      Except as provided in paragraph (2) below, the terms of this order do not affect or
        concern anyone outside the jurisdiction of this court.


        (2)      The terms of this order will affect the following persons in a country or state outside
                 the jurisdiction of this court-


                 (a)       the First Defendant, or any nominee, trustee, agent or attorney appointed by
                           him or holding assets (whether directly or indirectly) for him.


                 (b)      any person who-


                          (i)       is subject to the jurisdiction of this court;
                          (ii)      has been given written notice of this order at his residence or place
                                    of business within the jurisdiction of this court; and
                          (iii)     is able to prevent acts or omissions outside the jurisdiction of this
                                    court which constitute or assist in a breach of the terms of this
                                    order; and




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                 (c)      any person, only to the extent that this order is declared enforceable by or is
                          enforced by a court or is recognised in that country or state.


        (3)      The persons referred to in paragraphs 20(2)(a) and/or 20(2)(c) above shall include
                 (without limitation) those persons listed in Schedule 5 hereto.


                       ASSETS LOCATED OUTSIDE ENGLAND AND WALES


    21. Nothing in this order shall, in respect of assets located outside England and Wales, prevent
        any third party (save for the persons referred to in paragraph 20(2) above) from complying
        with—


        (1)      what it reasonably believes to be its obligations, contractual or otherwise, under the
                 laws and obligations of the country or state in which those assets are situated; and
        (2)      any orders of the courts of that country or state, provided that reasonable notice of
                 any application for such an order is given to the Claimant's solicitors.



                          LIBERTY TO APPLY AND APPLICATIONS


    22. The Claimant, First Defendant and Receivers shall have liberty to apply. The receivership
        application is transferred to the Chancery Division pursuant to CPR rule 30.5, to which
        division all applications relating to the receivership shall be made.


                                                COSTS

    23. The First Defendant do pay 80% of the Claimant's costs of the receivership application (which
        for the avoidance of doubt are to include 80% of the costs of the hearing as regards all
        applications on 4-6 August 2010) on the standard basis, to be assessed if not agreed. The First
        Defendant do pay the Claimant's costs of the application made on 10 November 2010 on the
        standard basis, to be assessed if not agreed. The Claimant's application for a payment on
        account of such costs shall be stood over in order that the solicitors for the Claimant and First
        Defendant can attempt to agree the amount of such payment in correspondence.


                        PRIVACY AND RESTRICTED INFORMATION


    24. The judgments of Mr Justice Teare dated 17 March and 16 July 2010 and this order may be
        made publicly available after the names of all individuals, companies and other entities which
        are subject to the restricted information regime imposed by paragraph 15 of the order of Mr
        Justice Teare dated 12 November 2009 (as subsequently amended) have been appropriately
        anonymised by agreement between the solicitors for the Claimant and the First Defendant or
        by direction of the court. For the avoidance of doubt, the Receivers may use and/or disclose
        the full terms of this order (including the schedule hereto) as they consider necessary for the
        purposes of the receivership.


    25. Any publication and/or use of this order by the Receivers pursuant to paragraph 24, above,
        shall not be a breach of the order of Mr Justice Teare dated 17 March 2010.




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     26. The order of Mr Justice Teare dated 17 March 2010 shall be varied in order to permit the
         Claimant to inform the following entities as to the outcome of the receivership application, the
         terms of this order, and significant developments in the progress of the receivership and the
         appeal referred to below: (i) PriceWaterhouseCoopers; (ii) White & Case LLP; and (iii)
         Samruk-Kazyna (to whom the Claimant may also disclose information relating to the costs of
         the receivership).

    27. The Receivers shall be permitted to use and/or disclose all information that has come, or will
        come, into their possession for the purposes of the receivership and no such use shall be
        restricted by or be a breach of paragraph 15 of the order of Mr Justice Teare dated 12
        November 2009 (as subsequently amended) and/or paragraph 5 of the order of Mr Justice
        Teare dated 22 April 2010, save that such disclosure (insofar as it relates to information
        provided by the First Defendant), if directed towards the Claimant, shall in the first instance be
        provided to the Claimant's solicitors, Hogan Lovells International LLP, who shall continue to
        comply with paragraph 15 of the order of Mr Justice Teare dated 12 November 2009 (as
        subsequently amended) absent further order.



       27A Subject to paragraph 27A(1) and 27A(2) below, the Receivers shall provide, as soon as
             reasonably practicable, to the Claimant's solicitors (only) copies of:
        (a) all documents provided to the Receivers by Mr Ablyazov and/or any person acting on Mr
            Ablyazov's behalf, including all responses to Requests for Further Information raised by
            the Receivers and, where reasonably practicable, any letters covering such documents;
            and
        (b) all documents provided to the Receivers by corporate service providers, registered agents
            and/or banks in respect of the companies and/or assets listed at Schedules 3, 3A, 3B, 3C,
            3D, 3E, 3F, 3G, 3H and 31 of this Order,
            save where the Claimant's solicitors inform the Receivers in writing that any documents
             otherwise covered by this paragraph do not need to be so provided, and save that where
             the Receivers consider that any documents otherwise covered by this paragraph are
             privileged or potentially privileged, they shall promptly inform the Claimant's solicitors
             of their reasons for withholding the documents or information sought.

     27A(1) The Receivers shall, as soon as practicable but not before 15 calendar days from the
            making of this order have elapsed, provide to the Claimant's solicitors (only) documents
            caught by paragraph 27A above and which were provided by one or more of Trasnational
            Assets Limited, International Petroleum Services Group Limited and Rocklane Properties
            Limited, their corporate service providers and/or registered agents and/or banks in
            response to a request made by the Receivers for documents relating to one or more of
            those three companies in so far as any such documents are responsive to that request in
            respect of one or more of those three companies only. The Claimant's solicitors
            undertake to serve a copy of this order (appropriately redacted so as to comply with the
            order of Teare J dated 29 February 2012 in respect of restricted information) on the
            English solicitors of each of those three companies by 4pm on the next working day
            following the making of this order.

     27B      The Receivers shall provide, as soon as reasonably practicable, to the Claimant's
              solicitors (only) any further documents or information they hold in respect of the




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            companies and/or assets listed at Schedules 3, 3A, 3B, 3C, 3D, 3E, 3F, 3G, 3H and 31 of
            this Order where such documentation or information is requested in writing by the
            Claimant's solicitors, save that where the Receivers consider they are unable to provide
            the documents or information requested, and save where the Receivers consider that any
            documents otherwise covered by this paragraph are privileged or potentially privileged,
            they shall promptly inform the Claimant's solicitors of their reasons for withholding the
            documents or information sought.


     27C    Complying with any order of the Court in relation to the disclosure of documents is
            deemed to be a purpose of the Receivership.


     27D    For the avoidance of doubt, notwithstanding paragraph 11 of Appendix A to the Order of
            Roth J dated 20 December 2011 (the Disclosure Protocol), the Claimant and/or its
            solicitors shall be permitted to make use of such documents and information for any
            purpose relating to or in connection with:
      (a)   the proceedings listed in the schedule to the order of Mr Justice Teare dated 29 February
            2012; and/or
      (b)   the enforcement of the Claimant's judgments against the First Defendant and/or his
            assets,
            and, in this context, shall not be obliged to keep confidential the documents and
            information provided by the Receivers pursuant to paragraphs 27A and 27B above.


     27E    In the event that the Receivers disclose a privileged document to the Claimant or its
            solicitors the Claimant may use it or its contents only with the prior permission of the
            Court having sought that permission on notice to the First Defendant.




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                                          SCHEDULE 1

                                    Evidence read by the Court

    1. The tenth witness statement of Christopher George Hardman dated 18 February 2010.

    2. The statement of fitness of Warren Foot dated 18 February 2010.

    3. The statement of fitness of Joseph Stewart Farquharson Plant dated 18 February 2010.

    4. The eleventh witness statement of Christopher George Hardman dated 22 February 2010.

    5. The witness statement of David Edward Langley dated 15 March 2010.

    6. The second witness statement of Mukhtar Ablyazov dated 16 March 2010.

    7.   The third witness statement of Mukhtar Ablyazov dated 16 April 2010 ("MKA 3").

    8. The fourth witness statement of Alan Bercow dated 16 April 2010.

    9. The expert report of Richard Hainsworth dated 16 April 2010.

    10. The expert report of Christopher Morris dated 16 April 2010.

    11. The third expert report of Professor William Bowring dated 16 April 2010.

    12. The expert report of Scott Jonas Newton dated 14 April 2010.

    13. The fifteenth witness statement of Christopher George Hardman dated 11 May 2010.

    14. The second witness statement of Arman Dunayev dated 11 May 2010.

    15. The witness statement of Mukhit Abdrasilov dated 10 May 2010.

    16. The statement of the proposed joint receivers dated 11 May 2010.

    17. The expert report of Vsevolod Markov dated 11 May 2010.

    18. The expert report of Alexander Handruev dated 11 May 2010.

    19. The fourth witness statement of Mukhtar Ablyazov dated 17 May 2010 ("MKA 4"). •

    20. The expert report of Professor Maggs dated 17 May 2010.

    21. The supplemental report of Christopher Morris dated 17 May 2010.

    22. The fifth witness statement of Mukhtar Ablyazov dated 24 May 2010.




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    23. The first witness statement of Aram Iosifyan dated 24 May 2010.

    24. The first witness statement of Rinat Batyrgareyev dated 4 June 2010.

    25. The sixth witness statement of Mukhtar Ablyazov dated 4 June 2010.

    26. The second witness statement of Cary Kochberg dated 7 June 2010.

    27. The seventh witness statement of Mukhtar Ablyazov dated 14 June 2010.

    28. The eighth witness statement of Mukhtar Ablyazov dated 18 June 2010.

    29. The sixteenth witness statement of Christopher George Hardman dated 29 June 2010.

    30. The second expert report of Professor Maggs dated 7 July 2010.

    31. The first witness statement of Louis Flannery dated 15 July 2010.

    32. The ninth witness statement of Mukhtar Ablyazov dated 15 July 2010.

    33. The seventh witness statement of Alan Bercow dated 29 July 2010.

    34. The seventeenth witness statement of Christopher George Hardman dated 2 August 2010.

    35. The eleventh witness statement of Mukhtar Ablyazov dated 8 November 2010

    36. The first report to the Court of the Joint Receivers dated 21 December 2010.

    37. The twenty third witness statement of Christopher George Hardman dated 24 January 2011.

    38. The statement of the joint receivers dated 24 January 2011.

    39. The first affirmation of Mukhtar Ablyazov dated 9 February 2011.

    40. The second report to the Court of the Joint Receivers dated 21 March 2011.

    41. The twenty fifth witness statement of Christopher George Hardman dated 7 April 2011.

    42. The statement of the Joint Receivers dated 7 April 2011.

    43. The twenty sixth witness statement of Christopher George Hardman dated 26 May 2011.

    44. The statement of the Joint Receivers dated 26th May 2011.

    45. The report of the Joint Receivers dated 27 May 2011.

    46. The twenty eighth witness statement of Christopher George Hardman dated 8 June 2011.




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    47. The second witness statement of John Milsom dated 8 June 2011.


    48. The thirty-seventh witness statement of Christopher George Hardman dated 7 March 2012.


    49. The report of the Joint Receivers dated 6 March 2012.


    50. The thirty-ninth witness statement of Christopher George Hardman dated 23 April 2012

    51. The report of the Joint Receivers dated 23 April 2012


    52. The fifty-first witness statement of Christopher George Hardman dated 22 January 2013

    53. The report of the Joint Receivers dated 21 January 2013


    54. The fifty-sixth witness statement of Christopher George Hardman dated 15 April 2013.


    55. The report of the Joint Receivers dated 23 April 2013.


    56. The fourth witness statement of Alexander Charles Sciannaca dated 17 May 2013.


    57. The report of the Joint Receivers dated 17 May 2013.


    58. The fifty-seventh witness statement of Christopher George Hardman dated 29 April 2013.


    59. The report of the Joint Receivers dated 3 May 2013.


    60. The sixty first witness statement of Christopher George Hardman dated 30 July 2013.

    61. The report of the Joint Receivers dated 29 July 2013.


    62. The sixty fourth witness statement of Christopher George Hardman dated 22 January 2014.


    63. The report of the Joint Receivers dated 22 January 2014.


    64. The fifth affidavit of Michael Gordon Roberts dated 22 January 2014.


    65. The report of the Joint Receivers dated 6 February 2014.


    66. The twenty-third witness statement of Michael Gordon Roberts dated 25 February 2014.


    67. The twenty-fifth witness statement of Michael Gordon Roberts dated 12 March 2014.


    68. The letter of the Joint Receivers dated 28 February 2014.




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    69. The twenty-sixth witness statement of Michael Gordon Roberts dated 20 March 2014.


    70. The letter of the Joint Receivers dated 19 March 2014.


    71. The fifth witness statement of Alexander Charles Sciannaca dated 25 June 2014.


    72. The reports of the Joint Receivers dated 25 June and 8 October 2014.


    73. The sixth witness statement of Alexander Charles Sciannaca dated 11 December 2014.


    74. The sixty-ninth witness statement of Christopher George Hardman dated 20 April 2015.


    75. The first affidavit of Christopher George Hardman dated 13 July 2015.



                                           SCHEDULE 2

                 Undertakings given to the Court by the Claimant

    (i)     The Claimant undertakes to be answerable for what the Receivers may receive or become
            liable to pay until they have given the security directed in this Order.

    (ii)    If the Court later finds that the appointment or any act or omission of the Receivers has
            caused loss to the First Defendant, and decides that the First Defendant should be
            compensated for that loss, the Claimant undertakes that it will comply with any order that
            the Court may make.

    (iii)   If the Court later fmds that (i) the First Defendant is not the beneficial owner of an
            Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed, January
            2013 Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed or March 2014
            Undisclosed Asset or 24 March 2014 Undisclosed Asset or the UK Properties (whether in
            whole or in part), and (ii) the appointment or any act or omission of the Receivers in
            relation to the said Undisclosed Asset, Further Undisclosed, Additional Undisclosed,
            Extra Undisclosed , January 2013 Undisclosed, July 2013 Undisclosed, January 2014
            Undisclosed, March 2014 Undisclosed or 24 March Undisclosed Asset or the UK
            Properties has caused loss to third party owner(s) of the same, and (iii) that the said third
            party owner(s) should be compensated for that loss, the Claimant undertakes that it will
            comply with any order that the Court may make.

    (iv)    That it will, subject to the proviso set out below, serve the following documents on the
            First Defendant's solicitors by the time specified in paragraph 5D, above:

            a. Copies of the witness statements, reports and associated exhibits containing the
                evidence relied upon by the Claimant in support of the 24 March 2014 Application
                (but only insofar as such documentation has not previously been relied upon at an




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                     inter pastes hearing);
                  b. A copy of the transcript or a solicitor's note of the hearing on 24 March 2014; and
                  c. This order.

       (v)        The Claimant will pay the reasonable costs of anyone other than the First Defendant and
                  those persons referred to in paragraph 9(c), above, which have been incurred as a result of
                  this order, including the costs of finding out whether that person holds any of the
                  Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed, January
                  2013 Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed, March 2014
                  Undisclosed or 24 March Undisclosed Assets or the UK Properties.


       (vi)       That if for any reason this Order ceases to have effect the Claimant will forthwith take all
                  reasonable steps to inform, in writing, any person to whom it has given notice of this
                  Order or of whom it has reasonable grounds for supposing may act on this Order, that it
                  has ceased to have effect.



                                                 SCHEDULE 3

                                              The Disclosed Assets

 In this Schedule reference is made to companies in the following categories:

 (a) Companies over which the Receivers are appointed as managers pursuant to paragraph IA of this
     Order;
 (b) Intermediate holding companies; and
 (c) Local operating companies to which Schedule 4, paragraph 2(i) of this order applies.



 (1)          The First Defendant's Interest in AMT (See Appendix 2 to the Third Affidavit of the First
              Defendant herein ("MKA 3"))

              The relevant companies in respect of this asset over which the Receivers are appointed as
              managers pursuant to paragraph 1A of this Order are:-
                      Venezzia Trading Limited (BVI)
                      Omada Trading Limited (BVI)
                      Squarecut Trading Ltd (BVI)
                      AHA Management Inc (Commonwealth of Dominica)
                      Crosbie Tech Limited (BVI)
                      Daniels Tradecorp Inc (BVI)
                      Drey Associates Limited (United Kingdom)
              -       Interfimding Facilities Limited (United Kingdom)
                      Powermatic Data Limited (Seychelles)
              -       Solent Management Limited (BVI)

              The intermediate holding companies (to which paragraph 1A of this Order does not apply)
              are:-
              -            Torg LLC (Russia)




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                Rikas Finance LLC (Russia)
                TuranAlem Capital LLC (Russia)
                PSK Finance AMK Invest LLC (Russia)

       The relevant local operating company for the purposes of Schedule 4, paragraph 2 of this
       Order (to which paragraph 1 A of this Order does not apply) is:-
       -        AMT Bank LLC

 (2)    The First Defendant's Interest in BTA Ukraine (See Appendix 3 to MKA 3)

       The relevant companies in respect of this asset over which the Receivers are appointed as
       managers pursuant to paragraph lA of this Order are:-
               Randers Company Inc (BVI)
       -       Lakeland Commercial Ltd (BVI)
       -       Sundycoast Processing Ltd (BVI)
               Venezzia Trading Limited (BVI)
       -       Goldfme Import Limited (BV 1)
       -       Squarecut Trading Limited (BVI)
       -       Drobo Trade Ltd (BVI)
       -       Impulse Capital Corp (Seychelles)
               Stantis Ltd (Cyprus)
       -       Crosbie Tech Limited (BVI)
               Interfunding Facilities Limited (United Kingdom)
               Pointview Services Limited (BVI)
               Steffler Global Inc (BVI)
       -       ZRL Beteiligungs AG (Austria)

       The intermediate holding companies (to which paragraph IA of this Order does not apply)
       are:-
       -       Absolut Investment LLP (Ukraine)
       -       Afina Trade LLP (Ukraine)
       -       DP MP Invest (Ukraine)
       -       DP Jupiter Trade (Ukraine)
       -       Drobo Trade Investments LLP (Ukraine)
               Goldfme Import Investments LLP (Ukraine)
               Impulse Capital Investments LLP (Ukraine)
       -       IPG Eurasia Ukraine LLC (Ukraine)
               Lakeland Investments LLP (Ukraine)

       The relevant local operating company for the purposes of Schedule 4, paragraph 2 of this
       Order (to which paragraph lA of this Order does not apply) is:-
       -        BTA Ukraine



 (3)   The First Defendant's Interest in BTA Georgia (See Appendix 4 to MKA3)

       The relevant companies in respect of this asset over which the Receivers are appointed as
       managers pursuant to paragraph lA of this Order are:-




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                Venezzia Trading Limited
                Sundycoast Processing Ltd (BVI)
                Crosbie Tech Limited (BVI)
                Interfunding Facilities Limited (United Kingdom)
                Pointview Services Limited (BVI)
                ZRL Beteiligungs AG (Austria)


       The relevant local operating company for the purposes of Schedule 4, paragraph 2 of this
       Order (to which paragraph 1 A of this Order does not apply) is:-
       -        BTA Georgia


 (4)   The First Defendant's Interest in BTA Armenia (See Appendix 5 to MKA 3)


       The relevant companies in respect of this asset over which the Receivers are appointed as
       managers pursuant to paragraph 1A of this Order are:-
                Sundycoast Processing Ltd (BVI)
                AHA Management Inc (Commonwealth of Dominica)
                Pointview Services Limited (BVI)
                Squarecut Trading Limited (BVI)
                ZRL Beteiligungs AG (Austria)


       The intermediate holding company (to which paragraph 1 A of this Order does not apply) is:-
                PSK Finance AMK Invest LLC (Russia)


       The relevant local operating company for the purposes of Schedule 4, paragraph 2 of this
       Order (to which paragraph I A of this Order does not apply) is:-
                BTA Armenia



 (5)   The First Defendant's 25% shareholding in in Temirbank (See para. 301 MKA3)



 (6)   The First Defendant's Interest in BTA Kazakhstan (See para. 303 MKA 3)


       The relevant companies in respect of this asset over which the Receivers are appointed as
       managers pursuant to paragraph lA of this Order are:-
               AST Holdings Ltd (St Vincent's and the Grenadines)
               Vartexo Trading Ltd (Cyprus)
               Revil Securities SA (Panama)
               Crosbie Tech (BVI)
               Venezzia Trading Limited (BVI)
               KT Asia Investment Group BV (Holland)
               KSC International Ltd (BVI)
               Omada Trading Ltd (BVI)
               Sundycoast Processing Ltd (BVI)
               Biofusion Limited (BVI)
               Boscobel International Corp (BVI)
               Delaware Capital Inc (BVI)




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               Drey Associates Limited (United Kingdom)
               Eurobusiness Group Inc (Panama)
               GEM Equity Management Holding AG (Austria)
               Gemestra Limited (BVI)
               Interfunding Facilities Limited (United Kingdom)
               KT Asia Investment Group C.V (Netherlands)
               Lucky Kingdom Investments (Seychelles)
               Merenko Limited (Cyprus)
               Pointview Services Limited (BVI)
               Powermatic Data Limited (Seychelles)
               Strident Energy Limited (United Kingdom)

       -       Tollo Holding S.a.r.l (Luxembourg)
       _       ZRL Beteiligungs AG (Austria)

       The intermediate holding companies (to which paragraph 1A of this Order does not apply)
       are: -
               Companiya Invest Capital LLP (Ukraine)
               Agroinvest LLP (Kazakhstan)
               Kazcapital Invest LLP
               Makta Aral Company LLP (Kazakhstan)
               Orken Kapital LLP
               SMKK LLP (Kazakhstan)
               Yassy Invest LLP (Kazakhstan)

       The relevant local operating companies for the purposes of Schedule 4, paragraph 2 of this
       Order are:-
                JSC BTA Bank



 (7)   The First Defendant's 60% shareholding in Real Estate Commercial Company, a
       company holding property in Kazakhstan (See para. 306 MKA 3)



 (8)   The First Defendant's Interest in Business Centre at Tsvetnoi Boulevard Moscow (See
       para. 314 MKA 3)

       The relevant companies in respect of this asset over which the Receivers are appointed as
       managers pursuant to paragraph I A of this Order are:-
               Helia Investments Ltd (BVI)
               Clerante Holdings Limited (Cyprus)
               Yarla Investments Limited (BVI)

       The relevant local operating company for the purposes of Schedule 4, paragraph 2 of this
       Order (to which paragraph 1A of this Order does not apply) is:-
       -        Tekhstroy Alliance CJSC (Russia)


 (9)   The First Defendant's Interest in Oceanarium, Moscow (See para. 324 MKA 3)




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        The relevant companies in respect of this asset over which the Receivers are appointed as
        managers pursuant to paragraph lA of this Order are:-
                 Legendcatch Services Limited (Cyprus)
                 Livehouse International Ltd (BVI)
                 Salvino Services Limited (Cyprus)


        The relevant local operating companies for the purposes of Schedule 4, paragraph 2 of this
        Order (to which paragraph lA of this Order does not apply) are:-
                 000 Marine Gardens


 (10)   The First Defendant's Interest in Business Centre at Kutuzovsky Prospect, Moscow (See
        para. 328 MKA 3)


        The relevant companies in respect of this asset over which the Receivers are appointed as
        managers pursuant to paragraph lA of this Order are:-
                 Jadason Enterprises Ltd (Seychelles)
                 Minlin Estates Limited (Cyprus)


        The relevant local operating companies for the purposes of Schedule 4, paragraph 2 of this
        Order (to which paragraph lA of this Order does not apply) are:-
                 Dik Nedvizhimost CJSC (Russia)
                 Financial Centre Micex CJSC (Russia)


 (11)   The First Defendant's Interest at Pavletskaya Square, Moscow (See para. 338 MKA 3)


        The relevant companies in respect of this asset over which the Receivers are appointed as
        managers pursuant to paragraph lA of this Order are:-
                 Investclub Investments Ltd (BVI)
                Salvino Services Limited (Cyprus)
                 Ringbell Investments Limited (BVI)



        The relevant local operating company for the purposes of Schedule 4, paragraph 2 of this
        Order (to which paragraph lA of this Order does not apply) is:-
                Paveletskaya OJSC (Russia)


 (12)   The First Defendant's Interest in land at Kaluzkhoye Highway. Moscow (See para. 350
        MICA 3)


        The relevant companies in respect of this asset over which the Receivers are appointed as
        managers pursuant to paragraph lA of this Order are:-
                Avalle Consulting Limited (Seychelles)
                Avgur Group Limited (Seychelles)
                Beststage International Ltd (BVI)
                Terrazone Investments Ltd (BVI)
                Bayshore Marketing Inc (BVI)
                Salvino Services Limited (Cyprus)




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        -        Varna Limited (Seychelles)


        The relevant local operating companies for the purposes of Schedule 4, paragraph 2 of this
        Order (to which paragraph lA of this Order does not apply) are:-
        -        Pakhra Fields LLC (Russia)
                 PK Yurovo LLC (Russia)
        -        PO Bylovo LLC (Russia)




        managers pursuant to paragraph IA of this Order are:


                 Lux Investing Limited (BVI)




        are:-




                 Nord Shipping Inc (Belize)


                Sea Specialised Port Vitino LLC (Russia)



 (14)   The First Defendant's Interest in mine in Kyrgyzstan (See para. 361 MKA3)


        The relevant companies in respect of this asset over which the Receivers are appointed as
        managers pursuant to paragraph 1 A of this Order are:-
                 Delaware Capital Inc (BVI)
                 Merenko Limited (Cyprus)


        The relevant local operating companies for the purposes of Schedule 4, paragraph 2 of this
        Order (to which paragraph IA of this Order does not apply) are:-
                 IPG Eurasia LLC (Russia)
                000 Saryjaz Mineral Mining Co


 (15)   The First Defendant's Interest in oil reserves in Kazakhstan through a 33.3%
        shareholding in Parasat Group NV (See para. 366 MKA 3)


        The relevant companies in respect of this asset over which the Receivers are appointed as
        managers pursuant to paragraph I A of this Order are:-




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                 Ancilla Beteiligungs — Verwaltungs GmbH (Austria)
                 Bondhouse Holdings Limited (Cyprus)
                 Riverstreet Investments Ltd (BVI)


        The intermediate holding company (to which paragraph lA of this Order does not apply) is:-
        -        Parasat Group NV


        The relevant local operating companies for the purposes of Schedule 4, paragraph 2 of this
        Order (to which paragraph lA of this Order does not apply) are:-
        -        NOO MK Caspian Zhuldyz
        -        TOO Caspian Tristar


 (16)   The First Defendant's Interest in Cosmos Hotel, Moscow being a 25.19% shareholding in
        OAO Gostinichniy Kompleks Cosmos (See para. 370 MKA 3)


        The relevant companies in respect of this asset over which the Receivers are appointed as
        managers pursuant to paragraph lA of this Order are:-
                 Eminota Limited (Cyprus)
        -        Lemur Holdings Ltd (Cyprus)
                 Fexon International Ltd (Seychelles)


        The relevant local operating company for the purposes of Schedule 4, paragraph 2 of this
        Order (to which paragraph lA of this Order does not apply) is:-
        -        OAO Gostinichniy Kompleks Cosmos


 (17)   The First Defendant's 10% shareholding in New Tobacco Company (See para. 377 MKA
        3)


        The relevant company in respect of this asset over which the Receivers are appointed as
        managers pursuant to paragraph lA of this Order is:-
                 Instem Holdings Ltd (Cyp)


        The relevant local operating company for the purposes of Schedule 4, paragraph 2 of this
        Order (to which paragraph lA of this Order does not apply) is:-
                000 Novaya Tabachnaya Companiya


 (18)   The First Defendant's interest in the proceeds of sale Eurasia Tower in Moscow (see
        para. 16(4) MKA 4)


        The relevant company in respect of this asset over which the Receivers are appointed as
        managers pursuant to paragraph lA of this Order is:-
        - Handcart Investments Limited


 (19)   The Respondent's interest in Lizinigrvaya Compagnie Delo / Lisingovaya Kompaniya Delo
        LLC / Delo Leasing Company / Leasing Company Delo LLC, registered in The Russian
        Federation with company number 1027739373540 on 26 October 2001.


 (20)   The Respondent's interest in Orkan Invest/Orken-Invest LLP.




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 And In Addition
 The First Defendant's bank accounts with BTA Bank, Moscow, now called AMT including account
 number 103-0003779-04.
 The First Defendant's bank accounts with EFG Bank, Switzerland including account numbers
 N534746, 534746.150.0 GBP and IBAN CH22 0866 7005 3474 6150 0.




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                                                 SCHEDULE 3A


                                             The Undisclosed Assets

        The shares in, and (from the moment of service of this order on Mr Ablyazov's solicitors) the Direct
                                 and Indirect Assets of the following companies:


       Company name                                     Subsidiaries                      Jurisdiction         Reg. no.
1.
       ABREMIN HOLDINGS LIMITED                                                           Cyprus


2.
       AEG SYSTEMS INC.                                                                   BVI                  492383
3.
       AFRELTA HOLDINGS LIMITED
4.
       ALARA INTERNATIONAL INC.                          SAMAL PROPERTIES                 BVI                  304518
5.
       ALDAN GLOBAL LIMITED                                                               BVI
6.
       ALDRIDGE VENTURES LTD                                                              Seychelles
7.
       ALEDAR HOLDINGS LIMITED                                                            BVI                  1494228
8.
       ALPHASEA INVESTMENTS LIMITED                                                       BVI                  1474198
9.
       AMADOR INVESTMENTS LTD.                                                            Cyprus               176354
10.
       AMBERWAY LIMITED                                                                   Seychelles
11.
       AMELCA INVESTMENTS LIMITED
12.
       AMOREUX LIMITED                                   SALWICK HOLDING S.           A Cyprus                 HE221463
                                                         RL
13.
       ANITAL LLC                                                                         Delaware             3764432
14.
       ARACELA HOLDINGS LIMITED                                                           Cyprus
15.
       ARANA CONSTRUCTIONS LIMITED                                                        BVI                  1495434


16.
       ARGONEX INVEST CORP                               LLP           AGROCENTER-        BVI                  511956
                                                         ASTANA
17.
       ARKRIDGE TELECOM LIMITED                          SANDOWN HOLDING S.           A Cyprus
                                                         R.L.
18.
       ARTOUNOA HOLDINGS LIMITED                                                          Cyprus
19.
       ASINO HOLDINGS LIMITED                                                             BVI                  1495405
20.
       ASMELTA INVESTMENTS LIMITED                                                        Cyprus               HE231313


21.
       ASPELICA INVESTMENTS LIMITED                                                       Cyprus


22.
       ASSET GROUP HOLDINGS LIMITED                                                        BVI                 1420763
23.
       ASTERATO MANAGEMENT LIMITED
24.
       ASTROGOLD CORP.                                                                     BVI                 1374174




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       Company name                          Subsidiaries          Jurisdiction   Reg, no.
25.
       AUSTIN UNIVERSAL INC.                                       BVI            1377358
26.
       AVASIA HOLDINGS LIMITED
27.
       AVGOUSTA        HOLDINGS    LIMITED
       (FORMERLY MOLYNEUX LTD.)
28.
       AVONHILL VENTURES LTD.                                      BVI            682000
29.
       BALGAVEN INVEST INC.                                        BVI            300853
30.
       BARDANE LIMITED                       SEAHAM HOLDING S.A    Cyprus
                                             R.L
31.
       BAYMAK SERVICES LIMITED                                     BVI            1495416


32.
       BELINIA HOLDINGS LIMITED              [JSC                  Cyprus
                                             ATbIPAYMYHARFA3FE0
                                             JI0I-1151]
33.
       BENFLEET HOLDING SARL                                       Luxemburg-     B138,496
                                                                   Kirchberg
34.
       BERIT LIMITED                                               BVI            1375691


35.
       BERMENT VENTURES LTD.                                       BVI            1058546
36.
       BLACKSTEEL EXPERTS CORP                                     BVI            1376758
37.
       BLERACE LIMITED                                             Cyprus
38.
       BOLOT WORLDWIDE LIMITED                                     BVI            610502


39.
       BONVEST ADVISORS LIMITED                                    BVI
40.
       BRANDEN & ASSOCIATES LIMITED          JSC                   Seychelles     024595
                                             ATbIPAYMYHAI1FA3FE0
                                             JI0FH
41.
       BTA INTERNATIONAL GROUP LIMITED                             BVI            1518591


42.
       BUBRECA LIMITED
43.
       BUSINESS CODE LIMITED                                       Seychelles     25953
44.
       CALERNEN FINANCE INC.                                       BVI            300833


45.
       CALESHA LIMITED                                             Cyprus
46.
       CARGOMAX MERCHANTS LIMITED                                  BVI            1374188
47.
       CELINA    HOLDINGS      INVESTMENTS
       LIMITED        (FORMERLY     BUBRIS
       INVESTMENTS LIMITED)




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       Company name                         Subsidiaries            Jurisdiction   Reg. no.
48.
       COMET MERCHANTS LTD.                                         BVI            578198


49.
       COMWORK LTD                                                  BVI            580838
50.
       CONCARDO LIMITED                     SHALFORD HOLDING S. A   Cyprus         HE221263
                                            R. L.
51.
       CORBIERE UNIVERSAL LIMITED                                   BVI


52.
       CRESHIA HOLDINGS LIMITED                                     Cyprus
53.
       DANA TRADE CORP.                                             Seychelles
54.
       DELCHELVA HOLDINGS LIMITED                                   Cyprus
55.
       DELTONA SERVICES LIMITED                                     BVI            1495431


56.
       DERBENT SERVICES LIMITED                                     BVI            1495422
57.
       DERNECO LIMITED
58.
       DORBEA INVESTMENTS LIMITED                                   BVI            1453089


59.
       ELANESCA INVESTMENTS LIMITED                                 Cyprus
60.
       ELGIN ASSETS & VENTURES LIMITED                              BVI            610503


61.
       ELISHA HOLDINGS LIMITED
62.
       ELISTA    TRADING    INTERNATIONAL                           BVI            1495415
       LIMITED
63.
       ERGEN TRADING LTD                                            BVI            1062904
64.
       ERGO TRANSIT CORP.                                           BVI            1380623


65.
       ESTREA MANAGEMENT LIMITED                                    BVI            1453021


66.
       EXTRACORD COMPANY LIMITED                                    BVI            1374177
67.
       FAMESCA INVESTMENTS LIMITED                                  Cyprus
68.
       FOUNTAIN HILLS TRADING LIMITED                               BVI            1495411
69.
       FROLOVO HOLDINGS LIMITED                                     BVI            1495823


70.
       G.R.V. GRECO VENTURES LIMITED        BATHGATE HOLDING S. A   Cyprus         HE204398
                                            R. L.
71.
       GEMINI LIMITED                                               Seychelles
72.
       GLOBAL TEAM COMPANY                                          Seychelles     036979




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       Company name                       Subsidiaries             Jurisdiction   Reg. no.
73.
       GOLD ARRIS LIMITED                 BALDOCK HOLDING S. A     Cyprus         C221362
                                          R.L.,
74.
       GORAZAR LIMITED                                             Cyprus         HE209166
75.
       GREBORE LIMITED                                             Cyprus
76.
       GREPAS SERVICES LIMITED                                     BVI            1494529


77.
       GRUNDBERG INC.                                              Seychelles     27871
78.
       HALLMER LIMITED                    BANAVIE HOLDING S. A     Cyprus         221342
                                          R.L.
79.
       HILBERTON TRADING LTD.                                      BVI
80.
       HILLSPAR HOLDING LIMITED           BANGOR HOLDING S. A      Cyprus         HE221271
                                          R.L.
81.
       IDRIAL LIMITED                     BARDON HOLDING S. A R.   Cyprus
                                          L.
82.
       JACROBI LIMITED                                             BVI            1540549
83.
       JOHNSON INTERTRANS INC.                                     BVI            682017
84.
       JOJOLAND VENTURES LTD                                       Cyprus


85.
       JOYTAS HOLDINGS LIMITED                                     BVI            1494520
86.
       KAPSY LIMITED                                               BVI            1494232
87.
       KENTAVIR LIMITED                   BARNHILL HOLDING S. A    Cyprus         HE221289
                                          R.L.
88.
       KINMATE TRADING LIMITED                                     Seychelles
89.
       KLOSTRADE FINANCIAL GROUP LTD.
90.
       KSC INTERNATIONAL CORP.                                     Seychelles
91.
       KUTUZOV WORLDWIDE ENTERPRISES                               BVI            610814
       LIMITED
92.
       LALLARTE LTD
93.                                                                Cyprus
       LALLARTE PROPERTIES LIMITED
94.
       LAPLOUS GROUP LTD.                 "OMCK-IIOJIHMEP"     -   BVI            660218
                                          OMSK-POLYMER
95.
       LAQUIAN LIMITED                    BEMPTON HOLDING S. A     Cyprus
                                          R.L.
96.
       LATRECIA INVESTMENTS LIMITED                                Cyprus
97.
       LEARNA HOLDINGS LIMITED                                     Cyprus         HE 22136
98.
       LEONCA HOLDINGS LIMITED                                     Cyprus




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99.
        LERCINA HOLDING LTD
100.
        LERCINA HOLDINGS LIMITED
101.
        LERNICE INVESTMENTS LIMITED                                     Cyprus
102.
        LINGARD INDUSTRY LIMITED                                        BVI            [1051505]
103.
        LINKWOOD LIMITED                                                Seychelles
104.
        LOREMAIN LIMITED                        BERWICH HOLDING S.A     Cyprus         HE204395
                                                R.L.
105.
        M.T.H. MARITIME HOLDINGS LIMITED        BILLBROOK HOLDING S.A   Cyprus
                                                R.L.
106.
        MABCO INC.                                                      BVI            492132
107.
        MALABAR        INVESTMENTS     GROUP                            BVI            1495414
        LIMITED
108.
        MALAKIY RESOURCES LIMITED                                       BVI            1528963
109.
        MARCENICA INVESTMENTS LIMITED                                   Cyprus


110.
        MARCIANA INVESTMENTS LIMITED                                    Cyprus
111.
        MASOUR HOLDINGS LIMITED                                         BVI            1494229
112.
        MELINDRA HOLDINGS LIMITED                                       Cyprus         HE235065
113.
        MER INVESTMENTS LIMITED                                         BVI            1472376
114.
        MERCIELO LIMITED                                                Cyprus
115.
        MINTEX TRADING LTD.                                             BVI
116.
        MISHIA INVESTMENTS LIMITED                                      BVI            1474162
117.
        MORANTA INVEST (CYPRUS) LIMITED                                 Cyprus         177050
118.
        MORTECIA INVESTMENTS LIMITED                                    Cyprus


119.
        MYMANA       INVESTMENT      HOLDINGS
        LIMITED        (FORMERLY        KYMA
        INVESTMENT HOLDINGS LIMITED)
120.
        NAFAZKO INVESTMENTS LIMITED                                     BVI
121.
        NARABAK HOLDINGS LIMITED                                        BVI            1474174
122.
        NETGOLD SERVICES LTD
123.
        NOSTRAS LIMITED                         BILLINGHAM HOLDING S.
                                                A R.L.
124.
        NUERTO LIMITED
125.
        OLOFU     INVESTMENT         HOLDINGS
        LIMITED




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126.
        000 STROIINVEST-KAZAN                                      Russia         1071690047
                                                                                  164
127.
        000 STROI-RESOURCE                                         Russia
128.
        000 INVESTPROEKT                                           Russia         1065260110
                                                                                  080
129.
        000 ATLANT-T                                               Russia         1087154007
                                                                                  203
130.
        [000] REGION-INVEST LLC                                    Russia         1080278009
                                                                                  261
131.
        [000] INVEST DEVELOPMENT LLC                               Russia         1087746609
                                                                                  840
132.
        OPIS INVESTMENTS LIMITED                                   BVI            1474166
133.
        PADOGE LIMITED
134.
        PASU INVESTMENTS LIMITED                                   BVI            1494521
135.
        PERFETA LIMITED
136.
        PKM INVEST LIMITED
137.
        PLARUM LIMITED                     BARLASTON HOLDING S.
                                           A R.L.
138.
        PORFITTO TRADING LIMITED           BARMING HOLDING S. A
                                           R.L.
139.
        PRESTONA HOLDINGS LIMITED                                  BVI            1472753
140.
        PREVIA LIMITED                                             Cyprus
141.
        PROLIFERONE LIMITED                BROCKLEY HOLDING S. A   Cyprus         HE 223867
                                           R.L.
142.
        QUASONT LIMITED                    BEXLEY HOLDING S. A     Cyprus         201456
                                           R.L.


                                           BIZNESELIT
143.
        REBLANCA HOLDINGS LIMITED                                  Cyprus
144.
        REME INVESTMENTS LIMITED                                   BVI            1494523
145.
        RETRICA HOLDINGS LIMITED                                   Cyprus


146.
        REUEL LIMITED                                              BVI            1494227
147.
        RIHANCA HOLDINGS LIMITED                                   Cyprus
148.
        ROCKLANE PROPERTIES LIMITED                                BVI            454885
149.
        ROSPOZANT LIMITED                  BLACKBURN HOLDING S.    Cyprus         204378
                                           A R.L.




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150.
        RUBYWAY LIMITED                                               Seychelles
151.
        S.L. SCHOOLDESK LICENSING LIMITED     BUCKLEY HOLDING S. A    Cyprus
                                              R.L.
152.
        SAMAL PROPERTIES LIMITED LIABILITY                            Kazakhstan     38888318
        PARTNERSHIP
153.
        SAMERA HOLDINGS LIMITED               BRUNDALL HOLDING S. A   Cyprus         HE 221374
                                              R.L.
154.
        SANBRETA INVESTMENTS LIMITED                                  Cyprus         HE 237114


155.
        SANTE TRADING LIMITED                                         BVI            1495417
        [SANTE TRADING GROUP LIMITED]
156.
        SEERIA ALLIANCE LTD.                                          BVI            507352


157.
        SHORELINE     INVESTMENT   HOLDINGS                           BVI            1453140
        LIMITED       (FORMERLY     GRANTA
        INVESTMENT HOLDINGS LIMITED)
158.
        SIMONIE HOLDINGS LIMITED              BELLGROVE HOLDING S.    Cyprus         221278
                                              A R.L.
159.
        SOMERSET PROJECTS INC.                                        BVI            1045876
160.
        STRASECA HOLDINGS LIMITED                                     Cyprus
161.
        SUNSTONE VENTURES LTD.                                        BVI            584478
162.
        SURMAKA SERVICES LIMITED                                      Cyprus
163.
        SVELGATE ALLIANCE CORP.                                       BVI
164.
        TACTICA ENTERPRISES LTD.                                      BVI            682002
165.
        TAHOKA LIMITED                        BULWELL HOLDING S. A    Cyprus
                                              R.L.
166.
        TARANSKI LIMITED                      BRANHALL HOLDING S. A   Cyprus
                                              R.L.
167.
        TELFORD FINANCIERS CORP.                                      BVI            1374186
168.
        TICKER SERVICES AND CONSULTING                                BVI            1494530
        LIMITED
169.
170.
        TOPGEO HOLDINGS LIMITED                                       Cyprus         175798
171.
        TRADESTOCK INC.                                               Panama
172.
        TRAMLANES INVESTMENTS LIMITED                                 BVI            1374191
        (FORMERLY BERGTRANS CONTRACTS
        CORP)




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173.
          TRASNATIONAL ASSETS LIMITED
174.
          TRASNATIONAL          CAPITAL      AND                      BVI            610501
          INVESTMENTS LIMITED
175.
          TRIONFALE LIMITED                                           Cyprus         183346
176.
          TSENTR-INVEST     LIMITED     LIABILITY
          COMPANY
177.
          UNITED     CLEARING    &    PROCESSING                      BVI            1062737
          COMPANY LTD.
178.
          VALEFORD CONSORTIUM CORP.                 EXCELLENT GLIDE   BVI            682014
179.
          VANESCA HOLDINGS LIMITED                                    BVI
180.
          VANESCA INVESTMENTS LIMITED                                 Cyprus
181.
          VARKIZA INVESTMENTS LIMITED                                 BVI            1474168
182.
          VIANDEN LIMITED                                             Cyprus         HE201422
183.
          VOREDA INVESTMENTS LIMITED                                  BVI            1472752
184.
          VULIER INVESTMENTS LIMITED                                  BVI            1474163
185.
          WESTRADE LTD.                                               BVI            53136
186.
          WIDLEY WORLDWIDE INC.                                       BVI            610505
187.
          WOODBRIDGE GROUP LTD.                                       BVI            569250
188.
          WORLDWIDE       CITY       INVESTMENTS                      BVI            610506
          LIMITED
189.
          YORK RESOURCES CAPITAL CORP.                                BVI            682013


190.
          YUMA HOLDINGS LIMITED                                       BVI            1495418
1 91 .
          ZAFFERANT PARTNERS INC.                                     BVI            1044166


192.
          ZALOU INVESTMENTS LIMITED                                   BVI            1474161
193.
          ZANGYLA HOLDINGS LIMITED                                    Cyprus
194.
          ZATHEN      HOLDING        INVESTMENTS                      BVI            601702
          LIMITED     (FORMERLY      CARSONWAY
          LIMITED)
195.
          ZED CANDY LIMITED
196.
          ZEPHYRANTH LIMITED
197.      AFRICAN SKY TRADING LIMITED                                 Cyprus
198.      ALEXAR TRADING LIMITED                                      BVI            1064299
199.      BATITRAV RESOURCES LIMITED                                  Cyprus         193524
200.      BILLION TRADER LTD
201.      DAYEN ENVIRONMENTAL LIMITED                                 Cyprus         176389
202.      DEVESTA LIMITED                                             BVI            1065560
203.      HUDSONA LIMITED                                             Cyprus




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204.    I.R.E.LAND LIMITED                                        Cyprus
205.    KEPPEL LAND LIMITED                                       Cyprus
206.    RIMOS LIMITED                                             Seychelles     030747
207.    MOLDINA INVESTMENTS LTD                                   Cyprus         C171998
208.    STARWOOD CONTRACTS LIMITED                                Seychelles     029790
209.    TARIONO LIMITED                                           Cyprus         HE153123
210.    URBAS INDUSTRIAL LIMITED                                  Cyprus         194828
211.    VANBAS LIMITED                                            BVI            1064295
212.    WINTERRA HOLDINGS LIMITED




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                                                   SCHEDULE 3B

                                         The Further Undisclosed Assets

         The shares in, and (from the moment of service of this order on Mr Ablyazov's solicitors) the Direct
                                   and Indirect Assets of the following companies:



          Company Name                       Jurisdiction       Registration No        Subsidiaries
1.
          Acalan Holdings Limited            Cyprus                                    Bluecenter Holdings
2.
          Adamaris Investments Ltd           Cyprus
3.
          Adarma Holdings Limited            Cyprus             273978
4.
          Addes International Limited
5.
          Adventex Trading Limited           BVI                1494656
6.
          Agrippa Trading Limited            BVI                1622121
7.
          Aharon Incorporated                Seychelles         081241
8.
          AIST LLC                           Russia             0127739396024
9.
          Alfa Consultancy Limited           Seychelles         079481
10.
          Alterson Limited                                      027874
11.
          Amirar Limited                     Cyprus             172083
12.
          AMT Services Limited               BVI                1537759
13.
          Angeland Investments Limited       BVI                1401999
14.
          Anibell Trading Limited            BVI                1524142
15.
          Antlia Corp                        BVI                1385816
16.
          Anzion Holdings Limited            BVI                1532863
17.
          Apa Services Limited               BVI                1621339
18.
          Archeston Solutions Inc            BVI                1045432                Business-Engineering
19.
          Ardrock Holdings Limited           Cyprus
20.
          Armotage Trading Limited           Cyprus
21.
          Artvision Limited
22.
          Aruma Holdings Limited
23.
          Asenet Services Limited            BVI




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          Company Name                      Jurisdiction      Registration No   Subsidiaries
24.
          Aurland Production Inc            BVI               1067872
25.
          Avredinar Holdings Limited        Kazakhstan
26.
          Bainsder Investments Limited
27.
          Baldock Holding S.a.r.l.          Luxembourg        138147
28.
          Balladfield Holdings Limited      Cyprus
29.
          Balladplace Enterprises Limited   Cyprus
30.
          Balladream Holdings Limited       Cyprus
31.
          Balladroad Enterprises Limited
32.
          Baltinvest LLC                    Russia            1083925030595
33.
          Baltyk Idea Limited
34.
          Banavie Holding S.a.r.l.          Luxembourg        138297
35.
          Bangor Holding S.a.r.1            Luxembourg        138296
36.
          Bardon Holding S.a.r.l.           Luxembourg        138148
37.
          Barlaston Holding S.a.r.l.        Luxembourg        138150
38.
          Barming Holding S.a.r.l.          Luxembourg        138243
39.
          Barnhill Holding S.a.r.1.         Luxembourg
40.
          Baruch & Co Limited               Seychelles
41.
          Bathgate Holding S.a.r.l.         Luxembourg        138146
42.
          Beenap Limited                    BVI               1049720
43.
          Belgrave Logistics Limited        Seychelles        028509
44.
          Bellgrove Holding S.a.r.l         Luxembourg
45.
          Beltas Development Corp           BVI               1069733
46.
          Beltor Ltd                        Seychelles        027292            Moranta Invest (Cyprus)
47.
         Bernet Investments Limited
48.
          Bempton Holding S.a.r.l.          Luxembourg
49.
         Bensbourogh Trading Inc            BVI               1468356
50.
          Berger International Limited      Seychelles        027001
51.
         Bemiling Investments Limited       Cyprus




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      Company Name                    Jurisdiction      Registration No   Subsidiaries
52.
      Berwich Holding S.a.r.l.        Luxembourg        138344
53.
      Bestcatch Trading Limited       Cyprus
54.
      Bestshot Services Limited       Cyprus
55.
      Bexley Holding S.a.r.l.         Luxembourg        138290
56.
      Biancini United S.A.            BVI               1532375
57.
      Billbrook Holding S.a.r.l.      Luxembourg        138343
58.
      Billingham Holding S.a.r.l.     Luxembourg
59.
      Bion Services Limited           BVI               1622096
60.
      Blackburn Holding S.a.r.l.      Luxembourg        8138293
61.
      Bluecenter Holdings Limited     BVI               1522557
62.
      Bluestate Investments Limited   BVI               1494647
63.
      Bogara Tech Limited
64.
      Bondiza Consulting Limited      BVI               1049725
65.
      Bondmore Holdings Limited
66.
      Bondrain Holdings Limited       Cyprus
67.
      Bondyear Enterprises Limited
68.
      Bramilt Enterprises Limited     Cyprus
69.
      Branhall Holding S.a.r.l.       Luxembourg
70.
      Brighton Corp.                  Seychelles        27875
71.
      Britar Holdings Ltd             BVI               1524113
72.
      Broadlife Trading Limited
73.
      Brockley Holding S.a.r.l.       Luxembourg        138253
74.
      Brundall Holding S.a.r.l.       Luxembourg        138281
75.
      Buckley Holding S.a.r.l.        Luxembourg
76.
      Bular Trading Limited           BVI               300852
77.
      Bulwell Holding S.a.r.l.        Luxembourg
78.
      Business Engineering LLC        Russia            5067746967492
79.
      Business Expert LLC             Russia            009105499




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          Company Name                      Jurisdiction      Registration No   Subsidiaries
80.
          Cabcharge Limited
81.
          Caprio LLC/Kaprio LLC             Russia            1077758540067
82.
          Carlower Enterprises Limited      Cyprus
83.
          Carsonway Limited                 BVI               601702
84.
          Caspineft Holding B.V.
85.
          Center-Invest                     Russia            1087746826804
86.
          Centile Resources Inc             BVI               1062916
87.
          Cerebos Limited
88.
          CF & Morgan Russia Equity
          Fund, LP                          Russia                              Russian GS
89.
          Chapelhill Enterprises Limited    Cyprus
90.
          Chapelroad Enterprises Limited    Cyprus
91.
          Chefa Limited                     Cyprus
92.
          Chesterland Invest Corp           BVI               1045430
93.
          Chrysopa Holding B.V.             Netherlands       27222830
94.
          City Ventures limited             Seychelles        025955
95.
          Colberg Division Limited          Cyprus            181252
96.
          Colex Trading Limited             Seychelles        27187
97.
          Company Support Limited
98.
          Cona Trading Limited              BVI               1524143
99.
          Constance Services Limited        BVI               1562723
100.
          Core Network Limited              Seychelles        079482
101.
          Comerways Services Limited
102.
          Crondale Finance Limited          Seychelles
103.
          Cronberry Overseas Limited        Cyprus
104.
          Crossaction Enterprises Limited   Cyprus            220226
105.
          Cyten Trading Inc                 BVI               1058557
106.
          Danionics Enterprises Limited




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       Company Name                   Jurisdiction      Registration No   Subsidiaries
107.
       Darfield Limited               BVI               251302
108.
       Denacom Limited                Cyprus
109.
       Denmar Assets Management
       Inc                            BVI               1069586
110.
       Develcan Ventures Limited      BVI               1042062           Stockstair Holdings Ltd
111.
       Dinfield Inc                                                       Grosburg Inc
112.
       Donlant Ventures Inc           BVI               1044187
113.
       Doren Trading Limited          BVI               1375696
114.
       Dowring & Associates Inc       BVI               1058558
115.
       Dreamlife Holdings Ltd         BVI               1462349
116.
       Drofal Holding Limited         BVI               1049729
117.
       Easy Concept Processing Ltd    BVI               1462346
118.
       Edmisonon Holdings Limited     Cyprus            183260
119.
       Eclarius Limited               Cyprus
120.
       Eldoro Holdings Limited        Cyprus
121.
       Elias Import/Export Limited    BVI               1045427
122.
       Elsinore Consultants Limited   Cyprus            214829
123.
       Emesin Trading Limited         Cyprus            178449
124.
       Emsort Holdings Limited        Cyprus
125.
       Engelor Trading Limited
126.
       Enverolt Marketing Limited     BVI               1041139
127.
       Equipe Holdings Limited        BVI               1041185
128.
       Emalco Investments Limited     Cyprus
129.
       Escantre Holdings Limited
130.
       Estar Developments Limited     BVI               1049271
131.
       Euroguard Assets Limited       Cyprus            157940
132.
       Europtronic Limited            Seychelles        027188
133.
       Facebook Trading Limited       Cyprus




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       Company Name                      Jurisdiction        Registration No   Subsidiaries
134.
       Famelink Investments Limited      Cyprus              220859
135.
       Famille Solutions Limited         BVI                 1562730
136.
       Fanal Holdings Limited            Cyprus
137.
       Farcape Services Limited          BVI                 1524082
138.
       Farpost Holdings Ltd              BVI                 1524144
139.
       Fastservice Consultants Limited   BVI                 1494649
140.
       Fedelm Corp                       BVI                 1376422
141.
       Fenella Service Limited
142.
       Fernwood Resources Limited        Seychelles          029775
143.
       Fers Limited                      Cyprus              178489            Holder Dom LLC
144.
       Feston Limited                    Seychelles          027872
145.
       Fieldport Networks Corp           Seychelles
146.
       Fitcherly Holdings Limited        BVI                 1584171
147.
       Flairis Technology Limited        Cyprus              176452
148.
       Fletcher Investors Corp           BVI                 1045424
149.
       Flightplan Services Limited       Cyprus
150.
       Flyajet Investments Limited       BVI                 1524141
151.
       FM - Company Limited              Marshall Is
152.
       Fora Corporation
153.
       Forestcrystal Holdings Limited    Cyprus
154.
       Foresthouse Holdings Limited      Cyprus
155.
       Forlorn Investments Ltd           Cyprus
156.
       Formiga Limited
157.
       Francis Alliance Limited          BVI                 1045423
158.
       Francont Trading Limited
159.
       Freshway Financial Consulting
       Limited                           BVI                 1044167
160.
       Frontline Technology Limited      Sey_c_helles




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       Company Name                         Jurisdiction      Registration No   Subsidiaries
161.
       Fugishia Trading Limited             BVI               1519025
162.
       Galanz Productions Limited           BVI               1041143
163.
       Gambac Limited                       BVI               666463
164.
       Gamematch Payment Ltd                BVI               1462354
165.
       Gasten Group Limited                 BVI               1070393
166.
       Gatova Holdings Limited              Cyprus
167.
       Gemnet Services Limited              BVI               1519027
168.
       Gemwave Systems Limited
169.
       Genemedix Enterprises Ltd
170.
       Gestel Marketing Inc                 BVI               1063845
171.
       Giftrock Trading Limited             Cyprus
172.
       Global    King         Enterprises
       Limited
173.
       Globetrade Management Ltd            BVI               1462202
174.
       Goldboat Investments Limited         BVI
175.
       Goldenstage Trading Limited          Cyprus
176.
       Graceway Commerce Limited                              181354
177.
       Greenbridge Services Limited         BVI               1540522
178.
       Grosburg Limited                     Cyprus            181247            LLC Stroyinvest MSC
179.
       Gurtall Management Limited           BVI               1540510
180.
       Harnfield Resources Limited          BVI               1063847
181.
       Heavenview Investments Ltd           BVI               1462238
182.
       Heklon Management Ltd                BVI               300828
183.
       Highbond Associates Ltd              Seychelles        028969
184.
       Highview Limited                     Seychelles        102630
185.
       Hillrose Developments Limited        Seychelles
186.
       Hilton Consulting Limited            BVI               1070782
187.
       Honeynet Trading Limited             BVI               1494645




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       Company Name                          Jurisdiction      Registration No   Subsidiaries
188.
       Humaninvest         International
       Limited                               BVI               1462234
189.
       Iamgold Corporation Limited
190.
       Imex Management Inc                   BVI               1071477
191.
       Inkaville Holdings Limited            BVI               1532830
192.
       Intellectual Creative Solutions
       Ltd                                   By!               1009715
193.
       IvoryTower           Consultants
       Limited                               Cyprus
194.
       Jacks International Limited
195.
       Jet Fame Industries Limited           Seychelles
196.
       Jifkor Holdings Limited               BVI               1049731
197.
       Jollafield Holdings Limited           Cyprus            184897
198.
       Jollastreet Enterprises Limited       Cyprus            185640
199.
       Jollatower Enterprises Limited
200.
       Jollawood         Trading         &
       Investments Ltd                       Cyprus            184905
201.
       Kailani Limited                       BVI               1396985
202.
       Kalli,w+441-vestmeilts-Limited        BALI              4-484566
203.
       Karola Holdings Limited               BVI               1524127
204.
       Kells Services Limited                BVI               1540631
205.
       Keywave International Ltd             BVI               1462222
206.
       Kimoce Limited
207.
       Kinslev Productions Ltd               Seychelles
208.
       Koasiatrata Investments Limited
209.
       Lafe Technology Limited               Seychelles        27002
210.
       Lake Resources Limited                Seychelles
211.
       Langit Consulting Limited             BVI               1396993
212.
       Lankom Limited                        Seychelles




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       Company Name                    Jurisdiction       Registration No   Subsidiaries
213.
       Lavec Estates Limited           Cyprus
214.
       Lebrica Holdings Limited        Cyprus
215.
       Lende Trading Corp              Marshall Is
216.
       Levelbest Trading Limited       Cyprus
217.
       Lexman Inc                      Seychelles         027870            Colberg Division
218.
       Lifetone Services Limtied       Cyprus             218027
219.
       Liftmann Limited                Cyprus             197893
220.
       Lightland Consultants Limited   BVI                1420951
221.
       Lion Asiapac Limited
222.
       Lionhead Trading Limited        BVI                1494648
223.
       Loginet Services Limited        BVI                1522548           Eldoro Holdings
224.
       Logopark Kolpino CJSC           Russia
225.
       Logopark Mezhdureche CJSC       Russia
226.
       Logopark Pyshma LLC
227.
       Lomtel Limited                  BVI                682683
228.
       Lotaro Trading Limited          Cyprus
229.
       Lyriten Production Inc          BVI                1062905
230.
       Maden Holding Inc               BVI                1064833
231.
       Maintop Trading Limited         Cyprus             217353
232.
       Marinor Limited                 Cyrpus
233.
       Matheca Holdings Limited        Cyprus
234.
       Maximus Resources Limited       Seychelles         644290
235.

236.
                                       Marshall
       Mega Property Limited           Islands                              Mount Properties
237.
       Melchia Trading Limited
238.
       Mergilot Trading Limited        Cyprus
239.
       Microview Trading Limited       Cyprus             218651




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       Company Name                        Jurisdiction      Registration No   Subsidiaries
240.
       Migina Limited                      BVI               1396992
241.
       Millennium      Support     Group
       Limited                             Seychelles
242.
       Minik Limited
243.
       Misatone Limited
244.
       Mitchell Technologies Inc           BVI               1045871
245.
       Mosdel Finance Limited              BVI               535012
246.
       Motzo Holdings Limited              BVI               1507648
247.
       Mount Properties Limited            BVI               337597
248.
       Nalden Industries Inc
249.
       Neshani Investments Limited         Cyprus            204400
250.
       Newform Company Ltd                 Seychelles
251.
       Newhomeland Investments Ltd         BVI               1462874
252.
       Nextrata Investments Limited        Cyprus
253.
       Nicedeal Investments Limited        BVI               1524056
254.
       Nipremena Holdings Limited          Cyprus            186409
255.
       Nitnelav Holdings Limited           Cyprus
256.
       Normen (Overseas) Ltd               Cyprus            146521
257.
       Nupto Limited                       BVI               1049721
258.
       Oldroad International Ltd           BVI               1392377
259.
       Orwell Import/Export Limited        BVI               1045872
260.
       Ostel Holdings Limited              BVI               1614863
261.
       Palter Products Limited
262.
       Palmgate Enterprises Limited        Cyprus            184874
263.
       Pancontinental Inc                  Belize
264.
       Paralcmi Logistics Limited          Cyprus
265.
       Pekan Trading Ltd                   BVI               1500339
266.
       Peperera Investments Limited




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       Company Name                        Jurisdiction      Registration No   Subsidiaries
267.
       Perspective    Communications
       Inc                                 BVI               1009714
268.
       Philadelphia Tradecorp Inc          BVI               1045873
269.
       Pilotlight Holdings Limited         Cyprus            220874
270.
       Placefield Holdings Limited         Cyprus            184898
271.
       Placehouse Enterprises Limited      Cyprus            184892
272.
       Planetzone Investments Limited      BVI               1494630
273.
       Platform Trustees Limited           Cyprus            77910
274.
       Potbel Holdings Ltd                 Cyprus
275.
       Potiza Holdings Limited
276.
       Power Factor Trading Limited
277.
       Powerboat Investments Limited       BVI               1522546           Giftrock Trading
278.
       Primesupport Holdings Ltd           Cyprus
279.
       Prockshere Limited                  Seychelles
280.
       Progen Limited                      BVI               544629
281.
       ProjectLand Investments Ltd         Cyprus
282.
       Promwel Holdings Limited
283.
       Prosperous Century Inc              BVI               1009694
284.
       Quickselect           Investments
       Limited                             BVI               1494632
285.
       Quinn Services Limited              BVI               1554073
286.
       Ratin Investment Limited            BVI               527985
287.
       Rayfield Productions Corp           BVI               1044183
288.
       Reclif Developments Limited
289.
       Refgen Technologies Inc             BVI               660231
290.
       Regal View Trading Limited          Cyprus            204492
291.
       Reigen Technologies Limited
292.
       Reklod Limited                      BVI               1069727
293.
       Ringfors Enterprises Limited        Cyprus




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       Company Name                     Jurisdiction      Registration No   Subsidiaries
294.
       Roadnext Holdings Limited
295.
       Rochester Invest Corporation     BVI               1045874
296.
       Rockgarden Enterprises Limited   BVI               1522547
297.
       Romelo Holdings Limited          BVI               1524125
298.
       Rospanico Investments Limited                                        Samuel Finance
299.
       Rovert Import/Export Limited     BVI               1069657
300.
       Royford Inc                      BVI
301.
       Rushotel LLC                     Russia            5077746954160
302.
       Rusotels Limited                 BVI               1407339           Liftman Limited
303.
       Russian GS Limited               Cyprus
304.
       Salwick Holding S.a.r.l.         Luxembourg
305.
       Samuel Finance S.a.r.l.          Luxembourg        108566
306.
       Sandown Holding S.a.r.l.         Luxembourg
307.
       Sarova Holdings Limited          BVI               1524130
308.
       Seaham Holding S.a.r.l.          Luxembourg        138141
309.
       Secretcomer Trading Limited      BVI               1462350
310.
       SellBrook Company Corp           Seychelles
311.



312.
       Shalford Holding S.a.r.l.        Luxembourg
313.
       SIG       Assets   Management
       Limited                          Seychelles        012024
314.
       Silverall Holdings Ltd           Cyprus
315.
       Silverghost Trading Limited      Cyprus            220949
316.
       Silworld Holdings Limited        Cyprus
317.
       Skywatch Services Ltd            BVI               1523632
318.
       Smarthead Investments Limited    BVI               1494629
319.
       Smartinvest Services Limited     BVI




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       Company Name                     Jurisdiction    Registration No   Subsidiaries
320.
       Smileworld Investments Ltd       BVI             1494644
321.
       Sovstar 1 (Cyprus) Limited       Cyprus          153130
322.
       Spacenet Services Limited        BVI             1522549
323.
       Specialrace Trading Ltd          Cyprus
324.
       Spiritbase Services Limited      Cyprus
325.
       Sprenwood Holdings Limited       BVI             1605749
326.
       Stanton Universal Limited        BVI             547197
327.
       Star-Atlantic Holding Inc        BVI             1045877
328.
       Statedown Enterprises Limited    Cyprus          184903
329.
       Statetower Enterprises Limited   Cyprus          184996
330.
       Steiman Corp
331.
       STL Company LLC                  Russia
332.
       Stockstair Holdings Limited      Cyprus          198005            AIST LLC
333.
       Storni Limited                   BVI             544628
334.
       Striks Investments Limited
335.
       Stroylnvest Kazan LLC            Russia          1071690047164
336.
       Stylewest Holdings Limited       Cyprus
337.
       Subona Trading Limited           Cyprus
338.
       Subtower Trading Limited         Cyprus
339.
       Sunwell Distributors Inc         BVI             1066692
340.
       Superleague Services Limited     Cyprus
341.
       Suprisimo Investments Limited
342.
       Svanlake Holding Limited         Cyprus          190960
343.
       Swainriver Holdings Limited      Cyprus
344.
       Sylvan Assets Inc                BVI             1562721
345.
       Tableros Holdings Limited        Cyprus
346.
       Tanna Holding S.a.r.l.           Luxembourg      131216
347.
       Techlink Consulting Ltd          BVI             1044178




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       Company Name                      Jurisdiction      Registration No   Subsidiaries
348.
       Top Quality Consulting Limited    BVI               1009713
349.
       Topwide Trading limited           Cyprus            246499
350.
       Topworld Services Limited         BVI               1420842
351.
       Torland Production Inc            BVI               1062907
352.
       Toros Limited                     Seychelles        030746
353.
       Tortuga Limited                   Seychelles
354.
       Tossima Limited                   BVI               1064289
355.
       Trademarket       International
       Limited                           BVI               1462348
356.
       Trainor Alley Corporation         Seychelles
357.
       Trasemino Investments Limited     Cyprus
358.
       Trefor Limited                    BVI               1420482
359.
       Trombest Holdings Limited         BVI
360.
       Ungromado Limited                 Cyprus
361.


362.
       Uniflex Global Limited
363.
       Unishare Trading Limited
364.
       Urie Services Limited             BVI               1540532
365.
       Vaida Trading Limited             BVI               1607475
366.
       Velocita Holding B.V.             Holland
367.
       Venizon Holdings Limited          BVI               1524060
368.
       Venta LLC                         Russia            1107746544454
369.
       Vern Trading Corporation          Seychelles        029805
370.
       Vernex Inc                        Seychelles
371.
       Vetro Limited                     BVI               1065558
372.
       Viascal Holdings Limited          Cyprus
373.
       Victan Limited                    BVI               1064296
374.
       Victoryland        Investments    Cyprus            246238




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       Company Name                     Jurisdiction      Registration No   Subsidiaries

       Limited
375.
                                                          90062
376.
       Vinsaw Investments Limited       BVI               1049727
377.
       Webcare Marketing Limited        Cyprus
378.
       Wenus Products Limited           Seychelles        028982
379.
       Whipland Investments Limited     BVI               1420874
380.
       White Avenue Limited             BVI               1562125
381.
       Wintop Services Limited          BVI               1522550
382.
       Xtrainvest Investments limited   Cyprus            206428
383.
       Yorkline Corp
384.
       Zaforim Investments Limited      Cyprus
385.
       Zaidies Limited
386.
       Zardoya Holding Limited
387.
       Zlatano Limited                  Cyprus
388.
       Zociac Enterprises Limited       BVI               1462239




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                                               SCHEDULE 3C

                                     The Additional Undisclosed Assets

      The shares in, and (from the moment of service of this order on Mr Ablyazov's solicitors) the Direct
                               and Indirect Assets of the following companies:


      Company Name                                             Jurisdiction            Registration number
1.    Airwood Corporation Limited

2.    Algoway Investments Limited
                                                               Cyprus
3.    Arfikona Limited
                                                               Seychelles              021188
4.    Devonton Investments Limited
                                                               Cyprus                  183691
5.    Dinamic Tide Trading

6.    Eurasia Logistics Limited
                                                               Jersey                  98767
7.    Govery Trading Limited

8.    Haphaestion Holdings Limited
                                                               Cyprus
9.    Harmony Technology Limited

10.   Heritam Management Limited
                                                               BVI                     1070778
11.   Innovalues Precision Limited

12.   Irwood Commercial Limited
                                                               BVI                     570048
13.   Linuxo Properties Limited

14.   Mignola Services S.A.
                                                               Seychelles
15.   Notula Trading Limited
                                                               Cyprus
16.   Roskon Limited
                                                               BVI                     1379210
17.   Seaworld Processing Limited
                                                               BVI                     1420851
18.   Solmar Technologies Corp.
                                                               BVI                     1044181
19. Vetta (UK) LLP
                                                               UK                      0C314091
20.   Warren Worldwide LLC
                                                               Seychelles
21.   Whitestorm Holdings Limited
                                                               BVI                     1420837
22.   Asa Trading Limited

23.   Aston Color Limited
                                                               BVI                     1064298




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24.   Azure Way Limited
                                              Seychelles
25.   Casalake Trading Limited
                                              Cyprus
26.   Cryosphere Limited

27.

28.

29.   Erawanco Limited

30.   Holder Dom LLC / 000 Kholder Dom
                                              Russia       1067746721591
31.   Konami Corporation Limited
                                              Seychelles   26999
32.   Palmridge Holdings Limited
                                              Cyprus       184906
33.   Salvepar Resources Limited

34.   Smartwhere Limited
                                              BVI          1517915
35.   Tunnelsink Holdings Limited
                                              BVI          1517905




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                                             SCHEDULE 3D

                                       The Extra Undisclosed Assets

               The shares in, and the Direct and Indirect Assets of the following companies..



      Company Name                                            Jurisdiction           Registration number

36.   Alasus Holding Limited
                                                              Cyprus
37.   Asterius Holdings Limited
                                                              Cyprus
38.   Creterius Finance Limited
                                                              Cyprus
39.   Fendus Holding Limited
                                                              Cyprus                 HE 251906
40.   Gallamist Investments Limited
                                                              Cyprus
41.   Global Scale Corporation
                                                              Seychelles
42.   Ladyhawk Holdings Limited
                                                              BVI                    1532832
43.   Landusaco Holding Limited
                                                              Cyprus
44.   Ludostad Properties Limited
                                                              BVI                    1536275
45.   Melkus Finance Ltd
                                                              Cyprus                 HE245410
46.   Parasus Finance Limited
                                                              Cyprus                 HE 251918
47.   Peristar Holdings Limited
                                                              BVI                    1536191
48.   Shallowlake Holdings Limited
                                                              Cyprus
49.   Staterax Holding Limited
                                                              Cyprus
50.   Stempel Holdings Ltd
                                                              BVI                    1522709
51.   Utara Investments Ltd
                                                              BVI                    1532811
52.   Xendus Holding Limited
                                                              Cyprus
53.   Handcart Investments Limited
                                                              BVI                    1420942
54.   Imerys Limited
                                                              Cyprus                 C195218
55.   International Petroleum Services Group Limited
                                                              BVI                    489785
56.   Proteus Group Holdings Limited
                                                              Seychelles             081568
57.   Septrade Limited
                                                              Seychelles             027294
58.   Valenora Co Limited
                                                              Cyprus                 C196265




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                                            SCHEDULE 3E


                                  The January 2013 Undisclosed Assets


     The shares in, and the Direct and Indirect Assets of, the following companies (save as is set out
                                                 below):


    No. Company Name                                          Jurisdiction               Registration


     1.   Advanced Media Centre Limited                       UK                         5275944
    2.    Tinex Trading Limited                               Seychelles                 23648
    3.    Vinson Limited                                      Belize                     99569
    4.    Integrated Solutions Group Limited                  UK                         03956231
    5.    Roskon Limited                                      Seychelles                 030745


  Save that in respect of Integrated Solutions Group Limited, the Receivers shall be appointed to
                              receive the shares in the company only.




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                                                   SCHEDULE 3F

                                        The July 2013 Undisclosed Assets

                    The shares in, and the Direct and Indirect Assets of the following companies:



      Company Name                    Jurisdiction    Registration No        Subsidiaries
1.
      Adorna         Investments        Cyprus               198993
      Limited
2.
      Advisys Limited                     BVI                580827
3.
      Alan Holding BV                 Netherlands          34262958
4.
      Alexeeva Investment Ltd           Marshall
                                        Islands
                                                                             Mansour Consolidated Inc
5.
      AMT     Capital        Group        UK              06892912
      Limited
6.
      Anadion LLC                     The Russian      1047796259400
                                       Federation
                                                                             Sibtrans-Service
7.
      Andrea Investment Ltd             Marshall                             Woodcock Enterprises Ltd
                                        Islands
8.
      Argonaut Trading Limited            BVI                1493326
9.
      Arkadios Holdings Limited
10.
      ATTA-Strakhovanie 000 /         The Russian      1027715011015
      ATTA-Strakhovanye LLC/           Federation
      ATTA-Insurance LLC /
      ATTA Insurance 000
11.
      gains Investment SA              Marshall              20821
                                       Islands
12.
      Balton Trade          LLC   /   The Russian      1047796259830
      BaltonTreid LLC                  Federation
13.
      Barenholt Productions Inc.          BVI              1040204           Mattergate Enterprises



14.
      Bars / Bars LLC                 The Russian      1037719051468         Rolanta LLC (the Russian
                                       Federation                            Federation) — 100%

                                                                             IK Snabpromgarant LLC — 1%
15.
      BetaConsult       /     Beta    The Russian      1027703027021




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      Company Name                 Jurisdiction   Registration No   Subsidiaries
      Konsult LLC                   Federation
16.
      Bickart Intertrade Corp          BVI            1058717       Sirloin Holdings
17.
      Bitsen Enterprises Limited     Cyprus
18.
      Blake Group International        BVI            1423828
      S.A.
19.
      Buildnet Trading Limited         BVI            1493327
20.      .
      Burim Consulting Limited         BVI            1396990       Unishare Trading
21.
      Burlington Organisation        Ireland             247880
      Limited

22.
      Busa4cy-Com-parly Lim-ited       BVI            1423854
      Buzsaky Company, Ltd

23.
      Caspineft N.V.               Netherlands       27304632

24.
      Chadwick Group                   BVI            1423856
      International Limited

25.
      Chernoweth Holdings S.A.         BVI            1423822

26.
      Citybestplus LLC /           The Russian    1047796234122
      CitiBestPlus LLC /            Federation
      SitiBestPlyus LLC

27.
      Cold Metal Investments           BVI            1493288
      Limited
                                                      1493328

28.
      Coldwave International           BVI            1462198
      Limited

29.
      Connolly Investment              BVI            1423858
      Group S.A.

30.
      Crodet Alliance Ltd              BVI            1412463

31.
      Dalgast Finance Limited          BVI            1058280

32.
      DanieroWest 000                Russia        1027739833824

33.
      DB Wilson Limited               Belize             34387




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      Company Name                 Jurisdiction   Registration No   Subsidiaries
34.
      Delbrook Commerce, Inc.          BVI            1058659

35.
      Dirfos Holdings Limited          BVI            1049722       Zaforim Investments

36.
      Discovery CJSC                 Russia       1037739932031     000 ORNAMENT (95%)

37.
      Doumbe Holdings Limited          BVI            1423585

38.
      Dumion Holdings Limited        Cyprus

39.
      Eastbridge Capital Limited       UK            04891832

40.
      Eastbridge Trading               UK            05361980
      Limited

41.
      Eastwest Import/Export,          BVI            1066693
      Limited

42.
      Ebano Services Corp              BVI            1453627

43.
      Edeltorg LLC / Edeltorg        Russia       1027739925510     (1) Everlait
      000
                                                                    (2) Erelon
44.
      Elindo Limited                 Cyprus              153157

45.
      Elt Lojistik Limited / Elt     Turkey              637404
      Lojistik Limited Sirketi

46.
      Emexpo Trading Limited         Cyprus              153122

47.
      Erelon 000                     Russia       1027739790825

48.
      Ertovia Trading Limited        Cyprus

49.
      Eucharis Investments           Cyprus
      Limited

50.
      Everlait 000                   Russia       1027739790517

51.
      Fallon Group Holdings            BVI            14-23697
      Limited Ltd
                                                      1423597
52.
      Fantazia Investments             BVI            1490149
      Limited




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      Company Name                Jurisdiction   Registration No    Subsidiaries
53.
      Faurecia Holdings Limited     Cyprus             183354       Zink Investments II BV (100%)

54.
      Finex Global Limited            BVI              531138

55.
      FinExpo                       Russia       1047796474692

56.
      Finsystems Group Limited       Belize            34395

57.
      Firstelement Trading            BVI            1489399
      Limited

58.
      Fleur Finance Sarl          Luxembourg           141503
      (formerly Bedwyn Holding
      Sarl)

59.
      Flickard International          BVI            1047172
      Limited

60.
      Forest Management           Seychelles           11661        (1) Interest in JSC BTA Bank
      Limited
                                                                    (2) Tverskaya Finance (25%)
61.
      Forward Corporation         Seychelles           027469

62.
      Gelion Marketing, Inc           BVI        1062912
                                                 (previous IBC No
                                                 was 659077)
63.
      Global-Securities /         Kazakhstan     050240000858       Orken-Invest LLP (Kazakhstan)
      Kompaniya Global
      Securities / Global
      Sekyurites LLP

64
  . Gloxenia Securities               BVI        298370
    Limited Ltd

65.
      Gold Point (GB) Limited         UK         04415336           Held an interest in JSC BTA Bank
                                                                    (0.03% in 2009)
      (previously called Gold
      Point Limited)

66.
      Goldfish Holding Sarl       Luxembourg     141509
      (previously Belper SARL)

67.
      Goslong Group Limited           BVI        1423592




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       Company Name                 Jurisdiction   Registration No   Subsidiaries
68.
       Granovest LLC                  Russia       1047796259191     000 Ingtekhtrans

69.
      Granton Trade Limited             BVI        542192

70.
      Grittleton Limited              Cyprus       144541            Profile A LLC (100%)

71.
      Groveley Holdings Limited         BVI        10/17178

                                                   1047181
72.
      Halmosi Holdings S.A.             BVI        1423697

73.
      Hayles Investments                BVI        1423853
      Limited

74.
      Hedgetempo Enterprises          Cyprus       222067
      Limited

75.
      Hillmore Trading Limited          BVI        1047179

76.
      Incompro Management               BVI        1042063           (1) Ardrock Holdings Limited (1,500
      Limited
                                                                     shares)

                                                                     (2) Bramilt Enterprises Limited
                                                                     (1,500 shares) (2008/2009)
77.
      Indotech Resourses              Ireland      299368
      Limited

78.
      InterConsulting                 Russia       1047796786894

79.
      InterResource / Interresurs     Ukraine      31904064          Korporatsia VPK (Ukraine)
      LLC

80.
      Iris Import/Export Limited        BVI        1058083           Belinia Investments Ltd

81.
      Isabelle Investments Ltd

82.
      Jadon Services Limited

83.
      Jimaradise Co. Ltd             Marshall                        Bickart Intertrade Corp
                                     Islands
84.
      Johnson Quality Products         BVI         1057741
      Inc.




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85.
      Kachina Investments             BVI        1397001           Adorna Investments Ltd (100%)
      Limited

86.
      Kalistone Ltd                 Cyprus

87.
      Kalmcap Limited

88.
      Kateri Limited                  BVI        1396989

89.
      Kats Holding SARL           Luxembourg     141505

      (previously Bescot
      Holding)

90.
      KazCo Construction          Kazakhstan     110127995         Samal Properties LLP (63%)
      Industrial Ltd LLP

91.
      Kewferry Investments            BVI        1044214
      Limited

92.
      Khudred-Service 5             Russia       1027739926059

93.
      Konvis LLC                  The Russian    1047796094939
                                   Federation
94.
      Labroy Marine Limited         Cyprus       176449            (1) Zepelin Management Company
                                                                   LLC (47.5%)

                                                                   (2) Terem LLC Management
                                                                   Company (100%)

                                                                   (3) Partner House LLC (100%)
95.
      Laird Int'd Holdings            BVI        1423863
      Limited

96.
      Larrieu Limited                 BVI        1423562

97.
      Leafs Holding SARL          Luxembourg     141506
      (formerly Bexhill Holding
      Sarl)

98.
      Lerandex LLP                    UK         0C303053

99.
      Lestul Holdings Ltd            BVI         530839




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100
      Lewton Trading Limited           BVI        1048766           Ertoria Trading Limited (100%)

101
      Lintravel LLC / Lean         The Russian    1047796225564
      Travel / LinTrevel LLC        Federation

102
      Locker Inc

103
      Lovnia Enterprises Limited     Cyprus

104
      Lugasol Corporation

105
      Lurosell Invest LLP              UK         0C307712          Interest in JSC BTA Bank (0.29% in
                                                                    2009)
106
      Maltiko Trading Lim ited4      Cyprus       153112
      Maltico Trading Ltd

107
      Malvestone Limited               BVI        1045494

108
      Mansour Consolidated Inc         BVI        1058284

109
      Marion Plus                    Russia       1027739924717

110
      Marpen Associates Inc.           BVI        682708

111
      Marusya Investment Ltd         Marshall                       Lewton Trading Ltd (100%)
                                     Islands
112
      Mattergate Enterprises         Cyprus       198214
      Limited

113
      Mazoo Holdings Limited           BVI        1490146

114
      McCormick Invest Limited         BVI        1423860

115
      Meditec Industries Limited   Seychelles     023647

116
      Mega Holding                   Marshall     7900
                                     Islands
117
      Melvin Holdings SA             Marshall     20820
                                     Islands
118
      MenkorMK                       Russia       1027739926433     000 Traiker (100%)




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      Company Name                Jurisdiction   Registration No   Subsidiaries



119
      Mettler Products Inc.           BVI        1044850           Francont Trading Limited

120
      Minoo Management                BVI        1396996
      Limited

121
      Moneydeal Trading               BVI        1490152
      Limited

122
      Nadil Investment Limited        BVI        530837

123
      Nalis International Inc.        BVI        1423586

124
      Naturalna Holdings            Cyprus       186387
      Limited

125
      Newdell Enterprises           Ireland      300097

126
      Newvision Holdings            Cyprus       220527            Altyn Invest LLC
      Limited

127
      Nicomatic Ventures            Cyprus       183332            (1) Zink Investments III BV (100%)
      Limited
                                                                   (2) Old Road International Limited
                                                                   (100%)



128
      Nigella Investments           Cyprus                         Neshani
      Limited

129
      Norris International            BVI        1423775
      Holdings

130
      000 KolinVest / KolinVest   The Russian    1047796227600
      LLC                          Federation

131
      ORS Holdings Ltd              Marshall                       Resthar International Ltd (100%)
                                    Islands
132
      Paladioexport LLC /         The Russian    1047796259367
      PaladioEksport LLC           Federation

133
      Pilotland                       BVI




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134
      Premium-Invest LLP /        Kazakhstan     050240013661      Kompaniya KazAgroResurs LLP
      Kompaniya Premium-
                                                                   (Kazakhstan)
      Invest LLP
                                                                   Finansovaya kompaniya Progress
                                                                   LLP (Kazakhstan)
135
      Priceless Trading Limited       BVI        1490063

136
      Progress Financial          The Russian    1077762355461
      Company / Finansovaya        Federation    600700205610
      Kompaniya Progress LLC      Kazakhstan

137
      Providence Processing           BVI        1462242
      Limited

138
      Prunus Holdings Limited       Cyprus       198286

139
      Quaraz Limited                Cyprus       229113            Kats Holding Sarl

140
      Real Services / Real         Marshall
      Services Limited             Islands

141
      Refk Financial
      Opportunities B.V.

142
      Reganta                       Russia       1027739802639     (1) 000 Viv-Trading

                                                                   (2) 000 Daneiro West

                                                                   (3) 000 Menkor MK
143
      Reid Investment Holdings        BVI        954337 1423867
      Incorporated

144
      Resthar International           BVI        1035432           Bitsen Enterprises Limited
      Limited

145
      Rolanta 000                 The Russian    1037789031180     ATTA-Strakhovanie LLC (the
                                   Federation                      Russian Federation) — 12%

                                                                   IK Snabpromgarant LLC (the
                                                                   Russian Federation) — 99.9%
146
      Royal Tara Investments      Seychelles     23641             Previously Mount Properties Limited
      Limited

147
      Roysun Products Limited         BVI        1041718           Calower Enterprises Limited (100%)




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148
      Roza LLC                      Russia       1077758552574

149
      RSCT Limited (previously      Cyprus       199797
      Mardue Investments Ltd)

150
      Ryxan Limited                 Cyprus       230383            Leafs Holding Sarl

151
      Sal-est-Feet Sallestreet      Cyprus       HE180413
      Holdings Limited

152
      Samba Bay Group                 BVI        1423833
      Holdings Limited

153
      Sanesta Investments           Cyprus
      Limited

154
      SAVV Holding Gmbh             Austria      270436

155
      Sawyer Consultants Inc.         BVI        1423862

156
      SEI-P-IALarldwide Seip          BVI        1423596
      Worldwide Ltd

157
      SEVW Holding Gmbh             Austria      270445

158
      Silvercross Associates          UK         03047013
      Limited

159
      Sirlon Holdings Limited       Cyprus

160
      Skypass Investments             BVI        1488959
      Limited

161
      Softlain Holdings Limited     Cyprus       175800

162
      Somosius Holding BV

163
      Soviet Star (Cyprus)          Cyprus       199182            (1) Sovstar 1 (Cyprus) Limited
      Limited (previously
      Archana Holdings Limited)                                    (2) Alexpro Trading Ltd

164
      Sparkway Enterprises         Seychelles    22470
      Limited

165
      Staour Limited                  BVI        1494527




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166
      STEK 1000 000 000             Russia       1027739420345
      Stek1000/Stek-1000 LLC

167
      Stroydiamant LLC              Russia       142-7-7-398,18466   000 Ugolno-briketnaya fabrika
      StroiDiamant LLC
                                                 1047796094829       Rusoven
168
      Stroymontazh ZAO /          The Russian    1047796813283
      Stroimontazh LLC             Federation

169
      Summerview Limited          Seychelles     023643

170
      Suncily Holdings Limited      Cyprus       186462

171
      Tetroconsult 000              Russia       1027739420202

172
      Timar Group Holdings            BVI        1423560
      Limited

173
      Timmins Investing Limited       BVI        1385675

174
      TOO Firma Kart Blansh /     Kazakhstan     021240002910        PlodEx JSC
      Firma Kart-Blansh Ltd LLP

175
      Traiker 000                   Russia       1027739925180

176
      Tsitomedpharm 000             Russia       1027700087117       (1) 000 Belovsky Sakhar

                                                                     (2) 000 Ela

                                                                     (3) 000 Bemua

                                                                     (3) 000 Fosna
177
      Tyhawk Ltd                    Cyprus

178
      Vest-Consult                  Russia       1037725001357       (1) 000 Bars

                                                                     (2) ZAO DIK-Nedvizhimost

                                                                     (3) ZAO InvestCapital

                                                                     (4) ZAO NTK-Alliance

                                                                     (5) ZAO TAU-Aktiv

                                                                     (7) ZAO Finansovy Service
179
      Viv-Trading 000               Russia       1027739924981       000 Nortex




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180
      Vultus Holding Limited          Cyprus

181
      Walters Overseas Limited          BVI        1045880           Jollawood Trading & Investments
                                                                     Ltd
182
      Watberg Investments               BVI        1048579
      Limited

183
      Waterstar Holding SARL        Luxembourg     141507

      (Formerly Bleasby
      Holdings Sarl)




184
      Welwyn Overseas Limited           BVI        1044201

185
      Woodcock Enterprises              BVI        1044254           Lovnia Enterprises Ltd
      Limited

186
      Wotton Group Limited              BVI        1423564

187
      Wyedene Holdings Limited        Cyprus       204399            Waterstar Holding Sarl

188
      Yassy-Capital                 Kazakhstan     110185725

189
      YTM Holdings Ltd                Marshall     20822
                                      Islands


190
      Zebarca Ltd Zebarca             Cyprus       212967            Eucharis Investments Limited
      Investments Limited

191
      Zerotech Corp                   Ireland      292253

192
      Zink Investments II B.V. /    Netherlands    17109760
      Zinc Investments II B.V.

193
      Zink Investments III B.V. /   Netherlands    20077346
      Zinc Investments III B.V.

194
      Alau So LLP                   Kazakhstan     061240002056

195
      Altyn Invest LLC / Altin      The Russian    1037714028219
      Invest LLC                     Federation




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196
      Amber Limited                Ras Al
                                  Khaimah
197
      ASDC CJSC / ASDS LLP       Kazakhstan     020740006562

198
      Avista Limited LLP /       Kazakhstan     040540020039      Kontinental LTD LLP (Kazakhstan)
      Kompaniya Avista Ltd LLP
                                                                  Torgovy dom Sun Trade LLP
                                                                  (Kazakhstan)
199
      BAMO-Float-Gas OJSC /      The Russian    1025005686606
      BAMO-Float-Glass OJSC       Federation
                                                                  MNPKI MezhRegionNllProyekt (the
                                                                  Russian Federation) — 1%
200
      Bamo-Land 000 / BAMO-      The Russian    1035001616000
      Land LLC / BAMO-LEND        Federation
      LLC

201
      Beaumaris Overseas             BVI        1554539
      Limited

202
      Briverdel-Lemora Mo, LLC   The Russian    1035009569242
                                  Federation
203
      Centralnaya                The Russian    5067746456399     Evrasia-EnergoServis LLC — 50%
      Developrskyaya              Federation
      Kompaniya (CDK) /
      Tsentralnaya
      Developerskaya
      Kompaniya / Central
      Developer Company ZAO

204
      Credo Ventures Limited     Seychelles     79361

205
      Cum berline Holdings           BVI        1536190
      Limited

206
      Danai Invest LLP /         Kazakhstan     061140004633
      Kompaniya Danai Invest
      LLP

207
      Desimon Ventures Ltd       Seychelles     79362

208
      Dilara LLC                 The Russian    1057747311577     StavropolBio LLC (the Russian
                                  Federation                      Federation)

                                                                  StroyTekhnoSnab LLC (the Russian




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                                                                    Federation)
209
      Dudar Capital LLP / Dudar    Kazakhstan     060940004154
      Kapital Ltd LLP

210
      Eseke Limited LLP            Kazakhstan     070240006137      Bask Invest LLP (Kazakhstan)

211
      Etalon LLC                   The Russian    1077759940466     Eurasia-Energo LLC (the Russian
                                    Federation                      Federation) — 99.9% (liquidated)
212
      Etrusco N.V. / Entrusco      Netherlands    58226
      N.V.                           Antilles

213
      Eurasia Capital                Jersey       101982
      Investments Holding Ltd

214
      Eurasia Capital                Jersey       101983
      Investments Ltd

215
      Eurasia Capital Ltd            Cyprus

216
      Eurasia Capital ZAO /        The Russian    1065012028080
      Evrasia-Kapital LLC           Federation

217
      Eurasia City 000 /           The Russian    1077757800812     Evrasia — Transportniye System i
      Eurasia City LLC / Evrasia    Federation                      LLC (the Russian Federation) —
      SITI LLC
                                                                    99% (liquidated)
218
      Eurasia-Energo LLC /         The Russian    1067760062347     Evrasia-EnergoServis LLC (the
      Eurasia Energo / Eurasia      Federation                      Russian Federation) — 50%
      Znergo / Eurasia Energy
      LLC / 000 Evraziya-
      Energo / Evrasia-Energo
      LLC

219
      Eurasia Kholod ZAO /         The Russian    1077847548371
      Evrasia Kholod CJSC /         Federation
      Eurasia Kholod CJSC

220
      Eurasia Logistics Co Ltd       Russia
      LLC

221
      Eurasia Logistic LLC /       The Russian    1067746011211     Evrasia Kholod CJSC — 99%
      Evrasia Logistik LLC          Federation

222
      Eurasialnvest /              Kazakhstan     041240007985      Ereymentausky plemkhoz LLP
      Eurasialnvest /
                                                                    (Kazakhstan)
      Evraziyalnvest / Evraziya-




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      Company Name                  Jurisdiction   Registration No   Subsidiaries
      invest LLP / Eurasia Invest
      Company LLP

223
      Eurazia Nedvijmost /          The Russian    1057749604329     Logopark Tula LLC (the Russian
      Eurazia Nedvijimos /           Federation                      Federation) — 100%
      Eurasia Nedvizhimost /
      Evrasia nedvizhimost LLC/
      Eurasia Real Estate LLC

224
      European Union Fidelity           BVI        287506
      Holding Limited

225
      Evro PM (formerly Olson         Russia
      Project Management) LLC

226
      Excellent Glide Airline JSC   Kazakhstan     060640019924
      / Aviakompaniya Excellent
      Glide JSC

227
      Finansoviy Consultants        The Russian    5087746066997
      LLC / Finansovy                Federation
      Konsultant LLC / Financial
      Consultant LLC

228
      Grand City LLC / Grand        The Russian    1047796396911
      Siti LLC                       Federation

229
      Handley Capital Inc               BVI        1554507

230
      Hendy Assets Limited /        Seychelles     14937
      Hendy Assets
      Management

231
      IG BTA-Kapital 000 / IG       The Russian    1067758221123
      BTA-Capital LLC /              Federation
      Investitsionnaya Gruppa
      BTA-Kapital LLC / 000
      IG "BTA-Kapital"

232
      Interstroy LLC / InterStroi   The Russian    1-047-796476442
      LLC                            Federation
                                                   1067759993124
233
      InvestGroup 000 /             The Russian    5087746174654
      InvestGroup LLC /              Federation
      InvestGrupp LLC

234
      Kamenskoe Plato               Kazakhstan     060440000153
      (Spectrum-S LLP) (Rock




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      Company Name                Jurisdiction   Registration No   Subsidiaries
      Plateau) (Spectrum-C)

235
      Klaudia Holding Limited       Cyprus

236
      Kredo K 000 / Kredo K       The Russian    1042401807106
      LLC / Credo K LLC            Federation

237
      Lizing Ekspert LLC /        The Russian    1057746409335
      Leasing Expert LLC /         Federation
      Leasing Expert 000

238
      Lindfield Corporate Inc         BVI        1399972

239
      Logopark Bataiskiy CJSC /   The Russian    1106193005544
      Logopark Bataysky LLC        Federation
      Logopark Batayskiy 000

240
      Logopark Biek Tau CJSC      The Russian    1071690003714
                                   Federation

241
      Logopark Borispol /           Ukraine      35416949
      Logopark Boryspil LLC

242
      Logopark Brovari /            Ukraine      35416954          Logopark Borispol LLC (Ukraine)
      Logopark Brovary LLC

243
      Logopark Kalinovka /          Ukraine      35417006
      Logopark Kalynovka /
      Logopark Kalynivka LLC /
      Logopark Kalinivka LLC

244
      Logopark Kamenka CJSC       The Russian    1075406047133
                                   Federation

245
      Logopark Kolpino: Central   The Russian    1077847551814
      Terminal CJSC / Logopark     Federation
      Kolpino: Terminal
      Tsentralny CJSC

246
      Logopark Limansky /           Ukraine      35502304
      Logopark Lymansky LLC

247
      Logopark Tatischevo         The Russian    1076450009943
      CJSC                         Federation

248
      Logopark Tolmachevo         The Russian    1075475000930
      CJSC                         Federation




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      Company Name                 Jurisdiction   Registration No   Subsidiaries
249
      Logopark Vasil'evsky /         Ukraine      35416933          Logopark Kalinivka (Ukraine)
      Logopark Vasilivskiy LLC /
      Logopark Vasilievsky LLC

250
      Logopark Yuzhno-             The Russian    1076166002307
      Bataiskiy CJSC / Logopark     Federation
      Yuzhno-Bataysky CJSC

251
      LogoparkKolpino: South       The Russian    1077847544686
      Terminal CJSC / Logopark      Federation
      Kolpino: Terminal Uzhny
      CJSC

252
      LogoparkPyshma: Central      The Russian    1076606001273
      Terminal CJSC / Logopark      Federation
      Pyshma: Terminal
      Tsentralny CJSC

253
      LogoparkPyshma: North        The Russian    1076606001262
      Terminal CJSC / Logopark      Federation
      Pyshma: Terminal
      Severny CJSC

254
      Lumette Corporation          Seychelles     45206

255
      Maxray Logistics Limited     Hong Kong      955892

256
      Maxwell International          Ukraine      36202797
      Medical Consulting LLC /
      Maks-Vell International
      Medical Konsalting LLC

257
      Mindexact Limited              Cyprus

258
      Mitra Company LLP /          Kazakhstan     070940002695
      Kompaniya Mitra LLP

259
      Mix LLC / Mig LLC / LK       The Russian    1043400251400
      000 Mig                       Federation

260
      NAK-Service LLP (NAK-        Kazakhstan     050940012639      Kazeksim LLP (Kazakhstan)
      Servis, NAK Service, NAK
      Servis)                                                       Upravlyayuschaya kompaniya
                                                                    Estate Construction Servis LLP
                                                                    (Kazakhstan)
261
      New Kalkaman LLP / Novy      Kazakhstan     040240003286




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      Company Name                   Jurisdiction   Registration No   Subsidiaries
      Kalkaman LLP

262
      Novosti Publishers /           The Russian    1027700053347     Stolovaya Izdatelvsto Novosti LLC
      lzdatelstvo Novosti JSC         Federation                      (the Russian Federation)
263
      Nyanga Limited / Nyanca            BVI        365647
      Ltd

264
      Nynco Limited                      BVI        1009404

265
      Olbruck Limited

266
      Omega LLC / YuB Omega          The Russian    1077759880120
      LLC                             Federation

267
      Pereslavka 62 /                The Russian    1027739424041
      Pereslavka-62 MSC OJSC          Federation

268
      Praym-Stroy / Prime-Stroy        Ukraine      34695337
      LLC / Praym-Stroy TOV /
      Praim-Stroy LLC

269
      Prima Finance / Prima          The Russian    1087746481206
      Finans LLC                      Federation

270
      Progen Investment              Uzbekistan

271
      Rendalius Holding Limited        Cyprus

272
      Rincoms Limited                    BVI        584788

273
      Redd-inIde-Fht-Recidingteicv     Cyprus       HE 270071
      Tfading-Limited
      Roddinckton Trading
      Limited

274
      Romanus Ltd                      Cyprus

275
      Romtrade / Romtreid                BVI        4855946 485947
      Holdings Limited

276
      Rossberg Trading Limited           BVI        1645805

277
      Severnaya Zvezda ZAO /         The Russian    1117746834589     Logopark Pishma LLC (the Russian
      Severnaya zvezda CJSC           Federation                      Federation) — 99%




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       Company Name                 Jurisdiction     Registration No       Subsidiaries
278
       Sheldon Limited               Seychelles      81742

279
      Shygys Susyndary LLP           Kazakhstan      061040004500
      (formerly Semei Su)

280
      Snabpromgarant LLC            The Russian      1025000653380         Aliance Ipoteka LLC (The Russian
                                     Federation                            Federation) — 0.23%
281
      Stategate Holdings               Cyprus        HE 182335
      Limited CNRG Contractor
      Limited

282
      Stepan Investments               Cyprus
      Limited

283
      Stroiproekt / Stroyproekt     The Russian      5067746966766
      CJSC / Stroyproyekt            Federation
      CJSC / ZAO Stroiproekt

284
      Stroyproekt-2030 LLP          Kazakhstan       6202002451111
      (Stroyprojekt-2030,
      Stroyproject-2030,
      Stroiproekt)

285
      Sur Capital Limited             Armenia

286
      TAU-active / TAU-Aktive       The Russian      1077759879724
      CJSC / TAU-Aktiv CJSC          Federation

287
      TLT 000 / TLT LLP             Kazakhstan      060240006026

288
      Tyan-Shanskiye Yell           Kazakhstan      011040000142
      Nursery Garden LLP /
      Pitomnik Tyan-Shanskie
      eli LLP

289
      Ukrainian Regions                Ukraine       31750211              lnnovatsiyna Budivelna Kompaniya
      Development Fund LLC                                                 (Ukraine)
      (URDF) / Ukrainsky Fond
      Razvitiya Regionov LLC

290
      Uni-Finanz PJSC / Uni-           Ukraine      33787966
      Finans PJSC



               The stated number is apparently the individual taxpayer's number of the company.




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      Company Name                 Jurisdiction   Registration No   Subsidiaries
291
      Zher Ana Limited LLP         Kazakhstan     070740018169

292
      Zhrtas-Invest AIFRI /        Kazakhstan     070640002664
      Zhartas-Invest /
      Aktsionerny investitsionny
      fond riskovogo
      investirovaniya Zhartas
      Invest, JSC




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                                         SCHEDULE 3G

                                The January 2014 Undisclosed Assets

            The shares in, and the Direct and Indirect Assets of the following companies:


              Company Name                   Company Number                    Jurisdiction

  1.   Abtahi Limited                              1409237                          BVI

  2.   Alatau Capital Limited                     07273892                          UK

  3.   Ashmole Inc                                 1409238                          BVI

  4.   Athabasca Limited                           1409239                          BVI

  5.   ATTA Finance LLC                        1097746624030                      Russia

 6.    Boiden Asset Corp                           1584886                          BVI

  7.   Bascome Limited                             1409240                          BVI

  8.   Daghorn Inc                                 1409268                          BVI

  9.   Dual Channels Limited                         498676                         BVI

  10. Entschede Limited                                                             BVI

 11. Fine Tuner Limited                              498677                         BVI

 12. Fluss Inc                                     1408760                          BVI

 13. Fortitude Ventures Limited                      684942                         BVI

 14. Gartmann Incorporated                         1409272                          BVI

 15. Hadorn Corporation                            1409273                          BVI

 16. Henshall Incorporated                         1409274                          BVI

 17. Jeffcott Group Limited                          630487                         BVI

 18. Kazoil-Astana Group Limited                     762642                     Hong Kong

 19. Kittenfeld Limited                            1409275                          BVI

 20. Kohler Inc                                    1409235                          BVI

 21. Kynnersley Limited                            1409236                          BVI

 22. Marchal S.A.                                  1409276                          BVI

 23. Melkerts Inc                                  1409278                          BVI

 24. Meppen S.A.                                   1409282                          BVI

 25. Molony Inc                                    1408754                          BVI




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            Company Name              Company Number     Jurisdiction

  26. Mousson S.A.                       1409390             BVI

 27. Nagle Inc                           1408758             BVI

 28. New Power Systems Limited           05319797            UK

 29. Olsen Incorporated                  1408751             BVI

 30. Pimley Limited                      1408759             BVI

 31. Tilberg Limited                     1409355             BVI

 32. Wallbridge Investments Limited      06810337            UK




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                                     SCHEDULE 3H


      The shares in, and the Direct and Indirect Assets of the following companies:
             Company Name                       Company               Jurisdiction
                                                Number

 1.   CJSC Ecotep                        1117746925427                  Russia

 2.   Financelnvest LLC                  5087746254327                  Russia

 3.   CJSC Logopark Medion               51177466039824                 Russia

 4.   Premierstroy LLC                   5077746898884                  Russia




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                                     SCHEDULE 31


      The shares in, and the Direct and Indirect Assets of the following companies:
             Company Name              Company Number                 Jurisdiction

 1.   Green Life International SA                                       Belize

 2.   Logistic Project Management        1136686022967                  Russia
      LLC/Elpiem LLC/LPM LLC

 3.   Stockroom/Stockrum CJSC            1137746086092                  Russia




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                                              SCHEDULE 4

  Powers of each of the Receivers (in addition to all other powers vested in each Receiver by virtue of
                                           his appointment)

     1.       Power to take possession of, collect, get in, receive and preserve the Property and the
              Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed, January
              2013 Undisclosed, the July 2013 Undisclosed, the January 2014 Undisclosed, the March
              2014 Undisclosed and the 24 March 2014 Undisclosed Assets and the UK Properties.

     IA.      In relation to the assets specified in paragraph 5AA, 5AD and 5AE-5AEC, above, power
              to take all such steps as may seem expedient to realise, sell, transfer, assign, lease, release,
              surrender or encumber the said assets.

     2.       Power to carry on the business of or associated with any part of the Property including,
              for the avoidance of doubt, the companies referred to in paragraph 1A of this order or any
              part of the Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed,
              January 2013 Undisclosed, July 2013 Undisclosed, the January 2014 Undisclosed, the
              March 2014 Undisclosed or the 24 March 2014 Undisclosed Assets or the UK Properties
              insofar as may be necessary for the purposes of this Order provided for the avoidance of
              doubt that: (i) the Receivers shall not without further order of the Court carry on any
              business of the local operating companies identified in Schedule 3 of this order (save
              insofar as is expedient for the purposes of paragraphs 5AD and 5AE-5AEC hereto); (ii)
              the Receivers shall have no powers and take no steps in relation to any arbitral
              proceedings to which KT Asia Investment Group BV is a party (as to which the Bank and
              the Receivers shall have liberty to apply); and (iii) the Receivers shall have no powers and
              take no steps in relation to any claims brought by the Bank against the companies referred
              to in Schedules 3, 3A, 3B, 3C, 3D, 3E, 3F, 3G, 3H and 31 hereto (as to which the Bank
              and the Receivers shall have liberty to apply).

     3.       Power to retain and operate existing bank accounts and to transfer such of the Property
              and such of the Undisclosed, Further Undisclosed, Additional Undisclosed, Extra
              Undisclosed, January 2013 Undisclosed, July 2013 Undisclosed, January 2014
              Undisclosed, March 2014 Undisclosed or 24 March 2014 Undisclosed Assets as he is able
              to transfer into an account in his own name or under his control.

     4.      Power to transfer any shares, assets, property or ownership rights that are the subject of
             his appointment to himself or to a suitable person to hold the same on trust or as nominee
             or agent on his behalf.

     5.      Power to exercise such voting or other rights or powers attaching to any shareholding or
             other security (including, without limitation, power to exercise such voting or other rights
             to change the membership of a legal entity's board of directors or other governing body).

     6.      Power to take all such steps as may be necessary to cause the registration of themselves
             (or their nominees) as the registered holders of any shares included in the Property or the
             Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed, January
             2013 Undisclosed Assets, July 2013 Undisclosed, January 2014 Undisclosed, March




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           2014 Undisclosed or 24 March 2014 Undisclosed Assets.

     7.    Power to take all such steps as may be necessary to prevent or rectify any alteration of the
           share capital or ownership of any company whose shares are included in the Property or
           in the Undisclosed, Further Undisclosed, Additional Undisclosed, Extra Undisclosed,
           January 2013 Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed, March
           2014 Undisclosed or 24 March 2014 Undisclosed Assets or the alteration or variation of
           the classes or of the class rights of its shares which would adversely affect that
           shareholding whether by reduction of capital or the issuing or allotment of new shares or
           otherwise howsoever.

     8.    Power to take all such steps as may be necessary to prevent or rectify any acts that
           adversely affect the value of any shares included in the Property or the Undisclosed,
           Further Undisclosed, Additional Undisclosed, Extra Undisclosed, January 2013
           Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed, March 2014 Undisclosed
           or 24 March 2014 Undisclosed Assets (subject to paragraph 2 above).

     9.    Power to assign the benefit of any contract to himself or a trustee, nominee or agent on his
           behalf.

    10.    Power to bring or defend any action or other legal proceedings in the Courts of this or any
           other country in order to achieve the purposes of the receivership. For the avoidance of
           doubt and without limitation, the Receivers shall have power to take all such steps as they
           deem expedient in relation to (i) the Valenora Proceedings (whether in their own name
           and/or in the name of Valenora Co Limited), including (if appropriate) to discontinue the
           same and (ii) such further proceedings as relate to such monies as are due to Chrysopa
           Holding BV ("Chrysopa") or International Petroleum Services Group Limited ("IPSG")
           and/or Valenora Co Limited ("Valenora") pursuant to a purported sub-loan agreement
           entered into between Chrysopa and Usarel Investments Limited dated 10 July 2008 (as
           subsequently amended) (whether by way of amendments to the Valenora Proceedings or
           otherwise and whether brought by the Receivers in their own name and/or in the name of
           Chrysopa and/or IPSG and/or Valenora).

    11.    Power to appoint a solicitor, accountant, surveyor, estate or other selling agent, valuer,
           auctioneer and/or other appropriate person (including his partners, divisions within and
           employees of his firm) to assist him in the performance of his duties.

    12.   Without prejudice to the additional powers granted in relation to the assets identified in
          paragraphs 5AA, 5AD and 5AE-5AEC, above, power to do all such things as may be
          necessary for the preservation and maintenance of the Property and the Undisclosed,
          Further Undisclosed, Additional Undisclosed, Extra Undisclosed, January 2013
          Undisclosed, July 2013 Undisclosed, January 2014 Undisclosed, March 2014 Undisclosed
          or 24 March 2014 Undisclosed Assets or the UK Properties or any of the share
          certificates, securities, books, instruments evidencing title and other documents and
          records (whether electronic or otherwise) that are required hereunder to be delivered up.

    13.   Power to appoint any trustee, nominee or agent to take any step which he is unable to do
          himself or which can more conveniently be done by such person.




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     14.   Power to effect or maintain policies of insurance in respect of any property or assets
           within his possession or control.

     15.   Power to do any act or execute any deed, receipt or document or to make any payment
           which is necessary or incidental to his functions or the exercise of the foregoing powers.




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                                         SCHEDULE 5

                          Persons referred to in paragraph 20(3) above



    1. CSPs, AFFILATED LAW FIRMS AND OTHER THIRD PARTIES

        Advanced Audit and Tax Consulting (P.P.) Ltd

        Alick Lawrence Attorney at Law

        Alpha Consulting Limited

        Anderson Business Services (CY) Ltd

        Andreas P. Dimitriadis & Synergates

        Andreas Sofocleous & Co

        Ashbury & Bloom Ltd

        Aspen Trust Group Ltd

        Christodoulos G. Vassiliades

        Christodoulos G. Vassiliades & Co LLC

        Chrysses Demetriades & Co LLC

        Consulco

       Consulco & Partners

        Costas Indianos & Co Limited

        DS Express

        Elias Christofi & Co.

        Fiduserve Overseas Limited

        Fidux Management Services GmbH

        GMA Auditors Limited

        GWM Center

        Hasberger, Seitz & Partner Rechtsanwalte GmbH

        Hugh F Shaw & Co

        International Overseas Services Inc

        Ilyas Khrapunov

        K. Treppides & Co

        Karibouni Corporate Services Limited
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        Michael Berry

        N.C.L. Corporate Services Ltd

        N.K. Oriaka Management Limited

        Papachristophorou & Co

        PNO Law Firm LLC

        Profserve Limited

        Proteus Consulting & Services Limited

        Quijado & Asociados

        ROH Rechtsanwalte AG

        SPW (UK) LLP

        Starport Nominees Limited

        TMF Netherlands B.V.

        Transhold Corporation Ltd

        Unitrust Corporate Services Limited

        Worldwide Corporate Services Limited

   2. REGISTERED AGENTS

        A.C.T. - Offshore Limited

        Aleman, Cordero, Galindo & Lee Trust (BVI) Limited

        All About Offshore (Seychelles) Limited

        Alpha IBC Secretaries Ltd

        AMS Financial Services

        AMS Trustees Limited

        Andreas Demetriades

        Annie Yeap

        Apollo Business Solutions (PTY)

        Aspen Secretarial Services Limited

        Augi Kalogirou

        Avomar Limited

        Belserve Consultants Limited




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        Benedetti & Benedetti

        Best Corporate Services Inc

       Cherkoules Jason Christian

       Christofi Secretarial Limited

       Cititrust International Ltd

       Clifton SC Limited

       Commonwealth Trust Limited

       Cyproservus Co. Limited

       Dana Kozlova

       Derbent Services Limited

       Dilea Secretarial Limited

       DMS Corporate Services Ltd

       Elena Hadjiroussou

       Equity Trust (BVI) Limited

       Equity Trust Co (Luxembourg) SA

       FIFCO (Offshore) Services Ltd

       Fidappoint Secretarial Limited

       Fidelity Corporate Services Ltd

       Fiduserve Management Limited

       Georgia Karides

       Giorgoula Zinonos

       Harneys Corporate Services Limited

       ILS Fiduciary (BVI) Limited

       ING Trust (BVI) Limited

       International Investment Services Ltd.

       International Law & Corporate Services (Pty) Ltd

       Intershore Consult (Pty) Ltd

       Jordans (Caribbean) Ltd

       Jordans (Seychelles) Limited




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        Mayfair Trust Group Limited

        Medwell Holdings Limited

        Morgan & Morgan Trust Corporation Limited

        Mossack Fonseca & Co. (BVI) Ltd

        Mossack Fonseca & Co. (Panama)

        Mossack Fonseca & Co. (Seychelles) Ltd

        Newhaven Corporate Services (BVI) Limited

       Nikolaou Charalampous Despoina

        Orthodoxia Pericleous

        Panayiota Eleftheriou

        Panayiotis Savva

        Patton, Moreno & Asvat (BVI) Limited

        Paul Kythreotis

        Platform Trustees Ltd

        Plenexus Limited

        PKM Management Limited

        Portcullis TrustNet (BVI) Limited

        PPT Secretarial Limited

        Primeserve Secretarial Limited

        Regiserve Secretarial Limited

        St Vincent Trust Service Limited

        Skysec Secretarial Limited

        Starport Secretaries Limited

        Sucre & Sucre Trust (BVI) Limited

        The Trust Company of the Marshall Islands Inc.

        Top Secretarial Limited

        Totalserve Trust Company Limited

        Trea Secretarial Limited

        Trident Trust Company (BVI) Limited




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        Trustone Services Limited

        Vimatex Ltd

        Waterlow Registrars Limited

        Woodmax Investments Limited

        Zoulian Limited

 3. BANKS

        Alpha Bank

        OJSC Promsvyazbank

        Martin Popular Bank

        Hellenic Bank

        Bank of Cyprus

        Baltikums Bank AS

        Commerzbank (Eurasija) SAO

        European American Investment Bank AG

        Eurohypo AG

        ING Bank (Luxembourg) SA

        LGT (Schweiz) Bank

        AS Rietumu Banka

        Trasta Komercbanka

        Eurobank EFG Cyprus Limited

   4. LIQUIDATORS

        Christina Cornelia van den Berg

        Damjan Glusica

        Edward Petre-Mears

        Sarah Petre-Mears




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